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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.


   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,

                  Plaintiff,

             V.                                                                 APR O7 2022
                                                                               ANGELA E. NOBLE
   MCC INTERNATIONAL CORP. (DBA                                               CLERK U.S. DIST. CT.
                                                                              S.D. OF FLA . - W.PB.
   "MINING CAPITAL COIN CORP.,"),
   CPTLCOIN CORP., BITCHAIN
   EXCHANGES, LUIZ CARLOS CAPUCI,
   JR. (AKA "JUNIOR CAPUTTI"), and
   EMERSON SOUSA PIRES,

                  Defendants.
   _ _ _ _ _ _ _ _ __ _ __                        !

                                   CASE FILED UNDER SEAL

       DECLARATION OF LARRY BRANNON IN SUPPORT OF PLAINTIFF'S
   EX PARTE EMERGENCY MOTION FOR A TEMPORARY RESTRAI I GORDER
                 ANDEMERGENCYANCILLARYRELIEF

     I, Larry Brannon, declare under penalty of perjury, in accordance with 28 U.S .C. § 1746, as

  follows:

  1. This declaration is submitted in support of Plaintiff United States Securities and Exchange

     Commission's ("SEC" or "Commission") Ex Parte Emergency Motion for a Temporary

     Restraining Order and Emergency Ancillary Relief.

  2. I am employed as an Accountant in the Division of Enforcement by the SEC ' s Chicago

     Regional Office, located at 175 West Jackson Boulevard, Suite 1450, Chicago, Illinoi s

     60604. I have been employed by the Commission since August 2021. Prior to my

     employment with the SEC, I was employed as an auditor, accountant and business consu ltant
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     in the private sector for more than 21 years and as a forensic auditor with another federal

     government agency for 2 years.

  3. I received a Bachelor of Arts in Communication Arts and Science from DePauw University

     and a Master of Science in Accountancy from DePaul University. I am a licensed Certified

     Public Accountant in good standing in the state oflllinois.

  4. My duties with the Commission include participating in fact-finding inquiries and

     investigations to determine whether the federal securities laws have been, are presently, or

     are about to be violated, and assisting in the Commission's litigation of securities laws

     violations. As part of my job, I routinely obtain and analyze bank records, brokerage records,

     and other financial records typical ly maintained at financial institutions. I also review

     documents gathered in the course of an investigation , inc luding but not limited to internal

     company financial records, communications, agreements, marketing material s, tax records,

     and documents regarding the structure of a company.

  Materials Reviewed

  5. I have participated in the Commission ' s investigation captioned In th e Matter of Mining

     Capital Coin, C-08791 (the "Investigation"), including participating in interviews,

     testimonies, and reviewing documents. In connection with the Investigation, I have reviewed:

         a. Bank records of Luiz C. Capuci , Jr. ("Capuci"), his spouse (Stephanie Cassia Capuci,
            fka "Stephanie Cassia Lira") (hereinafter "Stephanie Lira"), Emerson Sousa Pires
            ("Pires"), and bank records of certain related entities described in paragraph 13
            below, which records included but were not limited to: account opening documents,
            bank signatory forms , canceled checks, monthly statements, deposits, debit and credit
            memoranda, and wire transfers;

         b. Corporate filings, including Articles ofincorporation, Certificates of Organization,
            and Annual Reports, all of which are availab le on the websites of the Florida and
            Massachusetts Secretaries of State, of the following entities: MCC International Corp.
            (dba "Mining Capital Coin Corp.") ("MCC"); CPTLCoin Corp. ("CPTL"); and other
            corporations affiliated with Capuci and Pires , including the re lated entities described
            in paragraph 13 below;

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         c. Documents produced to the Commission by MCC , Capuci , Pires, CPTLCoin,
            witnesses, investors, financial in stitutions, internet domain providers, rea l estate title
            agencies, and car companies, including but not limited to, MCC marketing materials,
            videos and audio recordings of Capuci and Pires, Pires's tax records and schedules,
            WhatsApp communications, leases, inves tor information, and financi al records;

         d. Other documents obtained by the SEC staff in the course of the Investigation
            including the websites of MCC , CPTLCoin, and Bitchai n Exchanges ("Bitchain"),
            social media postings and videos, and Y ouTube videos; and

         e. Testimony transcripts and exhibits.

  Defendants and Roles

  6. Based upon my participation in this Investigation , I am familiar with MCC, CPTLCoin,

     Bitchain, Capuci, and Pires. I have reviewed Massachusetts Secretary of State records

     (attached as Group Exhibit 1), reflecting that:

                a. MCC was organized in Massachusetts on or about 10/4/2018 , principal office
                   location is 346 Turnpike Rd., Westborough, MA 01581.

                b. Capuci is th e Registered Agent, President, and Director of MCC, and listed
                   address is 346 Turnpike Rd., Westborough, MA 01581.

                c. Pires is the Vice-P resi dent, Secretary, Treasurer, and Marketing Director of
                   MCC, and li sted address is 346 Turnpike Rd ., Westborough, MA 01581.

                d. CPTLCoin , date of organizati on in Massachusetts is 3/10/2020, principal
                   office location is 100 Main Street, Worcester, MA 01608 .

                e.   Capuci is the Registered Agent, CEO, President, Vice-President, Director,
                     Treasurer, and Secretary of CPTLCoin, and listed address is 100 Main Street,
                     Worcester, MA 01608.

  7. I have also reviewed the websites of MCC (myminingcapitalcoin.com), CPTLCoin

     (cptlcoin.com), and Bitchain (bitchainexchanges.com), and records produced by "Domains

     by Proxy LLC" ("Domains By Proxy") in response to SEC subpoenas issued in thi s

     Investigation. A copy of the Domains By Proxy records are attached as Exhibit 2, including:

                a. Bates Nos. DBP 000006-000007, refl ecting that Capuci created the
                   CPTLCoin .com website on January 15, 2019 , and that Capuci 's registered
                   address was 11285 SW Vanderbilt Circle, Port Saint Lucie, Florida;


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                 b. Bates Nos. DBP 000016-000017, reflecting that Capuci created the
                    Bitchainexchanges.com website on April 4, 2019, and that Capuci's
                    registered address was 11285 SW Vanderbilt Circle, Po1i Saint Lucie, Florida;
                    and

                 c. Bates No. DBP000 18, reflecting that "Shawn Lee" became the contact fo r
                    Bitchainexchanges.com on May 4, 2019 and that his email address was
                    mccasia20 l 9@gmail.com, which I believe indicates that "Shawn Lee" was
                    affiliated with MCC .

                 d. Based upon my review of a web preservation of Bitchain Exchanges website
                    captured on March 31 , 2021, "Shawn Lee" is listed as the Chief Technology
                    Officer of Bitchain. (See Exhibit 2(a), p. 4.)

  8. I have al so reviewed a December 3, 2021 emai l and its attachment sent from the attorney of

      Capuci, MCC, and Enoque Pires, 1 Chris Wellman ("Mr. Wellman"), which is attached as

      Exhibit 3. In the email , Mr. Wellman wrote: "This is the organi zational chart that Enoque

      produced to me. This was prepared by Junior. " Based on my participation in th is

      Inves ti gation and videos I have watched of Capuci , it is my understanding th at Capuci goes

      by the ni ckname of "Junior. " The attached organizational chart reflects that "JR" is the

      "CEO" of "MCC" and "Bitchain ." Furthermore, based upon my participati on in this

      lnvestigation , it is my understanding that Capuci managed the information technology

      personnel of Bitchain.

  9. I have reviewed evidence gathered in this Investigation reflecting content from the MCC

      " back office," which is available online to investors who have a login and password, as well

      as account balances available to MCC investors on the Bitchain website. Furthermore, I have

      reviewed a March 2021 web preservation ofBitchain's website, attached as Ex hibit 4,

      providing contact information of 3503 El Camino Real , Palo Alto, Cal iforni a. (See Ex. 4, p.




  1
   Based on inves tigative testimony given by Enoque Pires on or about October 26, 202 1, it is my
  understanding that Enoq ue Pires is Emerson Pires 's brother and the former IT manager of
  MCC.

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         5.) However, based on my research , Bitchain is not registered with the California Secretary

         of State to do business.

  10. From my participation in this Investi ga tion, it is m y understanding th at MCC, CPTL, and

         Bitchain are not registered w ith the Commi ssion in any ca pac ity, nor have they ever

         regi stered or tri ed to register any offering of securiti es w ith the Commi ssion under the

         Securities Act or any class of securities under th e Exchange A ct. Furthennore, it is my

         understanding that Capuci and Pires are not registered with the Commission or associated

         w ith a registrant in any capacity.

  11 . As part of my participation in this In vesti ga tion , I have rev iewed certain background

         questionnaires that Capuci (age 45) and Pires (age 32) pro vided to the Commission in or

         about Febrnary 2020. (Group Exhibit 5.) Capuci 's qu estionn aire stated that he is a dual

         citizen of the U nited States and Brazil. Pires 's qu es ti on naire stated that he is a lawful

         permanent resident of th e United States. It is my understandin g that Capuci left his

         res idence in Florida and moved to Brazil in Jul y 202 1, after the SEC issued subpoenas in the

         Investigation on June 29, 2021. It is a lso my und erstandin g that Pires left hi s residence in

         Florida after the SEC issued the Jun e 29 , 2021 subpoenas, a nd is a lso now in Brazil.

         Furth ermore, it is my understandin g that Pires left MCC around November 2020 .2

  12 . I have reviewed an undated audio recordin g produced by a w itness th at is Bates-numbered

         SEC-CROSSM-E-000385. I observed th e testimony of the w itness w ho produced this audio

         recording and who testified that th e person speaking in this audi o recording is Capuci. In it,

         Capuci states, " If they want to h elp to go to SEC I can help them, I can block their account

         and then they go to SEC without the proof th ey have against M CC and myse lf. Especially the



  2
      All dates and values in thi s Dec laration are approximate.

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          proof they ... go to MCC and sign up without any restriction." Based on this, I believe that

          Capuci was informing this witness that he was willing to block MCC investors' access to the

          MCC back office in order to prevent the investor from providing evidence to the SEC in

          furtherance of this Investigation.

  Related Entities

  13. In the course of this Investigation, in addition to MCC, CPTLCoin, and Bitchain, I have

          reviewed records reflecting the roles of Capuci, Capuci's spouse (Stephanie Lira), and Pires

          with the following companies. (A copy of the supporting Secretary of State filings are

          attached as Group Exhibit 6.)

            Company Name           Role & Address Associated             State of          Corporate Status &
                                          With Role                   Incorporation       Corporate Registered
                                                                                               Address
      1     Hi Tech              Capuci is the President and          Florida         Active
            Commerce and         Vice-President (Add ress: 128        Effective:
            Logistics Corp.      SE Via San Marino                    12/05/2017      128 SE Via San Marino
             "Hi-Tech"           Port St. Lucie, FL 34984)                            Port St. Lucie, FL 34984
      2     Hi-Tech              Capuci is the Manager and            Massachusetts   Involuntary dissolution by
            Commerce and         Resident Agent (Address: 400         Date of         Court Order or by the SOC:
            Logistics LLC        Central Park #413                    Organization:   06/30/2017
                                 Holden , MA 0 1520)                  12/02/2014
                                                                                      400 Central Park #413
                                                                                      Holden, MA 0 1520
      3     Bittecl1 Global      Per the Articles of                  Massachusetts   Active
            Corp. ("Bittech      Organ ization , as of 5/31/2017, 3   Date of
            Global")             Capuci is the CEO, President,        Organization:   702 SW Port Saint Lucie Blvd.
                                 Treasurer, Secretary, Director       5/31/2017       Port Saint Lucie, FL 34953
                                 and Registered Agent
                                 (Address: 346 Turnpike Rd. ,
                                 Unit 1205, Westborough, MA
                                 01581)




  3
   The current Bittech Registered Agent, President, Treasurer, Secretary, V ice President, and
  Director is Deli Pereira Da Si lva, whose listed address is 17 Sewall St., Peabody, FL 01960.


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     #   Company Name         Role & Address Associated            State of           Corporate Status &
                                     With Role                  Incorporation        Corporate Registered
                                                                                             Address
     4   Conde Jackson       Capuci is the President and        Florida          Inactive 9/24/2021
         USA Corp.           Vice-President (Address: 128       Effective:
         ("Conde             SE Via San Marino, Port Saint      8/8/2017         128 SE Via San Marino
         Jackson")           Lucie, FL 34984)                                    Port Saint Lucie, FL 34983

     5   SL Trustee Corp .   Stephanie Lira is the President,   Massachusetts    Active
         ("SL Trustee")4     Treasurer, Secretary, CEO,         Date of
                             Vice President, Director, and      Organization :   600 Main Street 345,
                             Registered Agent (Address:         10/18/20 19      Worcester, MA 0 1608
                             2662 SW Fair Isle Rd. , Port
                             Saint Lucie, FL 34987)

     6   JSK Virtual Corp.   Capuci is the President,           Massachusetts    Active
         ("JSK")             Treasurer, Director, and           Date of
                             Registered Agent. (Address:        Organi zation:   346 Turnpike Rd ., Unit 1205
                             128 SE Via San Marino, Oport       3/4/2021         Westborough , MA 01581
                             [sic] Saint Lucie, FL 34983)

                             Stephanie Lira is the Vice-
                             President, Secretary and
                             Assistant Secretary (Address:
                             128 SE Via San Marino, Opo1i
                             [sic] Saint Lucie, FL 34983)

     7   JS Hornes Corp.     Capuci is the President,           Massachusetts    Active
         ("JS Homes")        Treasurer, Director, and           Date of
                             Registered Agent (Address:         Organization :   600 Main Street
                             128 SE Via San Marino, Port        10/22/2020       Worcester, MA 01608
                             Saint Lucie, FL 34984)

                             Stephanie Lira is the CEO,
                             Vice-President, Director,
                             Secretary, and Registered
                             Agent (Address: 128 SE Via
                             San Marino, Port Saint Lucie,
                             FL 34984)




 4
  SL Trustee Corp. is also registered in Florida effective 8/21/2020, principal address I 841 NW
 42 nd Dr. , Boca Raton, FL 33431, and the registered agent is "Adria Guido."


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      #    Company Name        Role & Address Associated             State of            Corporate Status &
                                      With Role                   Incorporation         Corporate Registered
                                                                                              Address
      8    JP Home            Capuci is the Manager and           Massachusetts     Active
           Development        "SOC Signatory" (Address:           Date of
           LLC ("JP Home")    128 SE Via San Marino, Port         Organization:     346 Turnpike Rd.
                              Saint Lucie, FL 34984) 5            4/22/2021         Westborough , MA 01581


      9    United General     Capuci is the Manager and           Massachusetts     Inactive
           Construction LLC   Registered Agent (Address:          Date of           Date of involuntary dissolution
           ("United General   413 Central Park, #413,             Organization:     by court or by the SOC:
           Construction")     Holden, MA O1520)                   5/13/2014         6/30/2018

                                                                                    413 Central Park
                                                                                    Holden, MA O1520
      10 LEJ Global Trade     Per the Articles of                 Florida           Active
         and Exchange         Incorporation , as of 5/ 18/2020,   Effective:
         LLC ("LEJ            Capuci was the President and        5/ 15/2020        1331 NW 197 111 St
         Global")             Vice-President (Address:                              Miami , FL 33169
                              11285 SW Vanderbilt Circle,
                              Port Saint Lucie, FL 34987) 6

      11   JK Gas Station     Pires is the Director,              Massachusetts     Involuntary dissolution by
           Services Corp.     Treasurer, and Secretary            Date of           Court Order or by the SOC:
           ("JK Gas           (Address: 11 285 SW                 Organi za tion:   12/31 /202 1
           Station")          Vanderbilt Cir. , Port Saint        6/1 /2018
                              Lucie, FL 34987) 7                                    345 Turnpike Rd. , Unit 1205
                                                                                    Westborough, MA 01581

      12 Trade Topside        Capuci is the Director,             England           7 Charles Street
         Business Limited     Secretary, and sole                 Company           London, England W 1J 5DQ
         ("Trade              Shareholder                         number
         Topside")                                                13321922

                                                                  7/2 9/202 1



  5
   Paulo Da Silva is listed as JP Home's Registered Agent and Manager with an address of 158
  NE Jettie Terrace, Port Saint Lucie, FL 34983 .
  6
   LEJ Global 's current Registered Agent is Alexander Socia, and its CEO is Nikelson L. Felix,
  whose listed address is 1331 NW 197 th St., Miami, FL 33169.

  7
   Marcue Tulio de Pinho is listed as JK Gas Stati on's Registered Agent and President with an
  address of 11 285 SW Vanderbilt Circle, Port Saint Lucie, FL 34987 .

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   #      Company Name          Role & Address Associated             State of            Corporate Status &
                                       With Role                   Incorporation         Corporate Registered
                                                                                               Address
   13     E&J Gran ite         Pires is the Registered Agent      Florida            Inactive
          Install LLC          and Manager (Two different         Effective:         Administrative Dissolution for
                               addresses: (1 ) 282 1 Java Plum    2/19/2012          Annual Report
                               Ave . Sarasota , FL 34232                             9/25/2020
                               (Registered Agent address); (2)
                               832 Champion Ave., Lehigh                             2821 Java Plum Ave . Sarasota,
                               Acres, FL, 33971)                                     FL 34232

   14     EmpiresX Corp.       Pires is the Registered Agent      Florida            Inac tive
          ("EmpiresX")         and President (Address: 9700       Effective :        Voluntary Dissolution
                               Casa Linda Court, Fort             1/3 0/2020         9/19/2020
                               Meyers, FL 33919)
                                                                                     Principal Address : 9700 Casa
                                                                                     Linda Court, Fort Meyers, FL
                                                                                     33919

                                                                                     Mailing address: 200 Carolina
                                                                                     Ave., P.O . Box 6129, Fort
                                                                                     Meyers Beach, FL 33931
   15     EmpX                 Pires is the Reg istered Agent     Florida            Active
          Management           and President (Address: 1855       Filed: 6/9/202 1
          LLC ("EmpX           SE Port Saint Lucie Blvd. , Port                      1855 SE Port Saint Lucie
          Management")         Sa in t Lucie , FL 34592)                             Blvd., Port Saint Lucie, FL
                                                                                     34592
   16     Empires              Pires is the Registered Agent      Florida            Active
          Consulting Corp.     and President (Address: 9700       Filed:
          ("Empires            Casa Linda Court, Fort             10/ 14/2 020       9700 Casa Linda Court, Fort
          Consulting           Meyers, FL 339 19)                                    Meyers, FL 339 19
          Corp.")
   17     EmpireX              Empires Consulting Corp. is        Nevada             Active
          Management           the Registered Agent               Formation
          Equity Group         (Address: 4801 S Sandhi 11 Rd.     Date:              4801 S Sandhill Rd.
          LLC                  Las Vegas, NV 8912 1)              8/24/2021          Las Vegas, NV 89 121

  14. I have reviewed SEC subpoenas dated June 29, 2021 issued to Capuci and Pires, in which

        the SEC requested: "All U.S . tax returns and related schedules filed for the last 5 years (tax

        years 2015-2020), fi led on behalf of you and any companies you control or are otherwise a

        partner or managing member." I have also reviewed SEC subpoenas dated June 29, 202 1

        issued to MCC, CPTLCoin, and Bittech Global, in which the SEC requested: "All U.S . tax

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      returns and related schedules fil ed for the last 5 years (tax yea rs 2015-2020), filed on behalf

      of [these companies]." No tax records or schedules were produced to the SEC by MCC,

      CPTLCoin, Bittecl1 Global , Capuci, or any of the related entities identi fied above . Pires

      produced two sets of tax records with different fi gures and sources of income , which I

      describe in paragraphs 68 to 72 below.

   15. Based upon this lack of information, it is difficult to determine whether MCC, CPTLCoin,

      Bittech Global, and any of the related entities identified above have any legitimate busi ness

      operations and expenses. However, as described in paragraph s 88 to 92 be low, Capuci and

      Pires created financ ial accounts in the names of certain of the related enti ties, including bank

      accounts that received MCC investor fund s.

   16. I have reviewed a document Bates-numbered MCC CAPUCI 000638, attached as Exhibit 7,

      which appears to be a fi ling that appoints Capuci as a di rector of "Trade Topside Business

      Limited ," ("Trade Topside") whose service address is in London , E ng land . I have also

      reviewed MCC CAPUCI 000633 , also attached as Exhibit 7, whic h states that the prin cipal

      ac ti vity of Trade Topside is "Activities of investment trusts." To my kn ow ledge, no further

      infom1ation abo ut Trade Topside was provided by Capuci. Furthermore, as described in

      paragraph 54 below, Capuci and Pires have asserted their Fifth A mendm ent rights against

      self-incrimination, and invoked the act-of-production doctrine, in response to the SEC's

      requests for the identifi cation of financial accounts, including foreign bank acco unts and

      digital wall et addresses. Therefore, it is possible that Capuci and Pires have fo rei gn accounts

      or access to financial accounts whil e outside of the United States.




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   MCC Florida Office and Marketing Materials

   17. I have reviewed a 22 -page brochure entitl ed "Mining Capital Coin : Bussines [sic] Portfo li o

      201 9" (hereinafter "Portfo lio"), a copy of which is attached as Exhibit 8. Page 3 of the

      Portfo lio states: " MCC was started in Nove mber 20 17 in the state of Florida."

   18. I have also reviewed documents refl ecting that " JK Gas Station Services Corp." ("JK Gas

      Station") leased commercial space located at 1776 SE Port St. Lucie Blvd. , Port St. Lucie, FL

      34952, from the Morningside Shoppes, LLC. Based upon the information in paragraph 13

      above, # 11 , I observed that Pires is the Director, Treasurer, and Secretary of JK Gas Station.

      The lease tem1 was May I , 20 18 for a period of two years, and annual rent was $ 12,000 fo r the

      first 12 months, and $ 12,600 fo r months 13-24 of the lease term . The lease refl ects that Pires

      signed the lease as a witness. I rev iewed payment records reflecting the last lease payment was

      made on March 19, 201 9. 1 have also rev iewed cou11 records refl ecting that the Mornings ide

      Shoppes, LLC fi led a lawsui t to evict JK Gas Station on or about May 1, 201 9, and obtained a

      j udgment aga inst JK Gas Station and Capuci in the amount of $25 ,127.33 plus interest on

      December 3, 201 9. (A copy of the lease, payment records, and summary judgment order are

      attached as Group Exhibit 9.)

   19. In addition, I rev iewed a City of Port St. Lucie U tility Systems Department receipt refl ecting

      that "Luiz Capuci" is the tenant at 1776 SE Port St. Lucie Blvd., Port St. Lucie, FL 34987.

      Capuci paid $ 17 5 via credit card for water and sewer services for hi s account number ending

      072324, on May 2, 201 8. (A copy of the City of Port St. Lucie U tility Systems Department

      receipt is attached as Exhibit 10.)

  20. I have also reviewed a video posted on Face book in which Capuci shows what appears to be

      the MCC Port Saint Lucie offic e. In the vi deo, Capuci shows equipment, which he describes



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      as "almost 400 machines" in the office that are "mining" and "making money fo r you guys !"

      He explains that MCC has seven such offices fill ed with "mining [machines] like this."

      These machines, Capuci insists in the video, prove that MCC is a "real company" with " rea l

      machines," not some "Ponzi scheme." At the end of the video, Ca puci wa lks out of the

      office and points to the MCC logo and name v isibl e on the office window from the street

      view. Capuci states, "Thi s is the biggest, huge, street in Port Saint Lucie."

   2 1. In a different Facebook video, Pires states, "Hello Mining Capital Coin famil y. This is

      Emerson Pires and I am your Vice-President. And, today, I am here in Florida .... I am

      here, here, at our office in Florida." In this video, Pires enters an office wi th the MCC logo

      visib le from the outside. The logo appears to be the same logo shown in the Cap uci video

      referenced above. I observed that in the vi deo, Pires shows w hat he identifies as "mining

      machi nes," and states, "You can see here, we're mining ri ght now, all the time fo r you , MCC

      worki ng w ith the investments, working wi th the money, working with your money, making

      your money work for yo u."

  22. In addition , I have reviewed the testimon y transcripts of at least two investors, who stated

      that they visited MCC 's office in Port Saint Luci e, Florida.

  MCC Business and Marketing Materials

  23. Based upon my participation in this Investigation, it is my understanding that MCC is a

      multi-level marketing company that sells investments called "min ing packages." It is my

      understanding that MCC encouraged existing investors to serve as "sponsors" who recrnited

      new investors. These sponsors were not MCC empl oyees. Rather, MCC would pay such

      sponsors commissions amounting to 10% of sales of mining packages made by the sponsor

      or her downline team. And, based on MCC marketing materials I reviewed, it is my



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     understanding that MCC sponsors were awarded gifts based upon a point system determined

     by value of investments sold to new investors, including iPads, Apple Watches, a Mercedes

     C- 180, a Range Rover Evoque, a Porsche Cayenne, and a Lamborghini A ventador. (Ex . 11 ,

     pp. 27-36; Ex. 12, pp. 2 1-31.) It is also my understanding based upon my participation in this

     Investigation that Capuci and Pires marketed MCC 's compensat ion structure, investments,

     and business plans through in-person meetings in Las Vegas, Florida and elsewhere in the

     United States and around the world ; live web-based presentations; web-based prerecorded

     videos, like those described above; publicly ava il ab le YouTube videos, marketing on social

     media platforms; and slide shows and other written marke ti ng materials.

  24. In addition to the Portfolio (Ex hibit 8), I have reviewed a 38-page MCC brochure, provided

     by a wi tness in thi s Investigation , which is attac hed as Ex hibit 11. I have also reviewed a 34-

     page MCC brochure pro duced by Pires, w hi ch is Bates-numbered MCC-EMERSON

     000013, and is attac hed as Exhibit 12 .

  25. Page 9 of Exhibit 11 states: " What We Do?" and is followed by severa l pages with the

     fo ll owing titles: "Cryptocurrency Minin g," "Fo rex Market," and "Exchange of

     Cryptocurrencies ."

                 a. Page l O states: " With the latest generation machi nes, the company has its
                    crypto mining park located in Ice land ."

                 b. Page 11 states: "With much more security and wi thout the possible pitfalls of
                    the forex, inves t intelligently not only in stocks but also in the future market,
                    of assets and leverage th at are a potential tool for ga ins."

  26 . I have reviewed a screenshot taken fro m a YouTube video entitl ed, "Recorrido en la oficinas

     de mining capital coin," which represented that MCC has mining operations in Florida and

     Vermont and is at Exhibit 13. I have also li stened to an audio recording file entitled "VID-

     20190225-W A0007," that was provided by a MCC investor, in whi ch Pires states that MCC


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      has mining operations in Mi ami , Fl orida. In the same audio recording, I heard Pires state

      that MCC mines Bitcoi n.

   27. On pages 16- 18 of Exhibit 8, the Portfolio states: "How Mining Capital Coin makes a

      pro fi t?" and is fo llowed by eight bullet points:

                  a. MCC mines at a cost of 2 cents per kwh . MCC has partnered with The World
                     Bank to secure an investment in ECO fri endly power generators . After
                     securing a partnership with a Wroclaw, Polish group MCC was able to use
                     Turbines to power up the mining fac ility.

                  b. Wi th 45, 198 ac tive mining machines . ...

                  c.   11 2,6 18 offlin e mac hines to be activated online by the end of April . ...

                  d. Arbitrage tradin g genera ting 1% to 1.5% per day. MCC works with the
                     world 's leading exchanges to trade cryptocurrency daily.

                  e. Forex trading generates 0.6% to 1% per day. MCC operates in the Forex
                     market w ith Se mi-Automatic ro boti c trading.

                  f.   Tradin g of Ca pitalCoin , (MCC's Own Coin). CapitalCoin is MCC's own coi n
                       and will be added to exc hanges aro und the worl d for trade.

                  g. Go ld Minin g in DRC Afri ca (starting to generate income in Jul y 2019).

                  h. Oil Mini ng in Saskatchewan, Canada (starting December 201 9).

   28 . Pages 19-2 1 of Exhibit 8 illustrate calcul ations regarding how MCC makes a profit. For the

      "M ining Profi t Exampl e," the Portfo li o states: "lf MCC receives 100,000 inves tors of $2000

      packages, this will generate $392, 100,000 profit with mining itself per year." For the

      "Arbitrage Trade Profit Example," the Portfolio states: "lfMCC receives 100,000 investors

      of $2000 packages, thi s will generate $ 120,000,000 profit." For the "Forex Profit Example,"

      the Portfo li o states: "lf MCC rece ives 100,000 investors of $2 000 packages, thi s will

      generate $72,000,000 profi t with Forex trading itself per year."

   29. Exhibits 11 and 12 describe the costs and returns of MCC mining packages:

                  a. Pages 14- 16 of Exhibit 11 li sts the costs of various mining packages and
                     shows that there is a $5 0 start fee . The cost of mining packages are: $ 125
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                      (bronze), $25 0 (silver), $500 (gold) , $ 1,000 (premium), $2 ,000 (platinum),
                      $5,000 (VIP base), $ 10,000 (VIP classic), $20,000 (VIP premiere), $40 ,000
                      (VIP deluxe), $80,000 (VIP supreme), $ 160,000 (MVP director), $32 0,000
                      (MVP executive), $1,200,000 (MVP Royal).

                  b. Pages 18-20 of Exhibit 11 are entitled "Sharing Profit," and li st the weekly
                     returns for each of the above mining packages and states that there are "da il y
                     earnings from 0.6% up to 1% for a period of 52 weeks ." The weekl y
                     payments li sted are as follows: $ 10 (bronze), $20 (silver), $35 (gold), $70
                     (premium), $ 140 (platinum), $350 (VIP base), $700 (VIP classic), $ 1,400
                     (VIP premiere), $2,800 (VIP deluxe), $5,600 (VIP supreme) , $1 1,200 (MVP
                     director), $22,400 (MVP executive), $84,000 (MVP Royal). Monthly
                     payments are also listed.

                  c. Pages 13-14 of Exhibit 12 contain the same prices of min ing packages
                     described above, however, the most expensive mining package li sted is
                     $ 10,000 (VIP classic).

                  d. Pages 16-17 of Exhibit 12 are entitl ed "Sharing Profit," and sta te that there
                     are "daily earnings from 0.3% up to 1% for a period of 52 weeks." The
                     weekly and monthly payments are the same as the figures in Pages 18-20 of
                     Ex hibit H, however, the highest return listed was fo r the V IP classic package
                     ($700/week and $2,800/month).

   30. Based upon my participation in thi s Investigation , it is my understanding that investors were

      told tha t they received 1% daily ( or 7% weekl y) profits on the cost of their purchased mining

      package, whi ch was pai d once a week. Investors could see their a ll eged account balances on

      the MCC back office, which they could log onto with a login and password . W hen the 7%

      was de pos ited into investors' account, its description was "Profit Shar ing. "

  3 1. Page 37 of Exhibit 11 , and page 32 of Exhibit 12, state that "Withdrawa ls Paid up to 7

      Business Days."

  32. Based upon my participation in this Investigation, it is my understanding that MCC investors

      who purchased mining packages in 2018 were told that they would receive their investment

      proceeds in Bitcoin ("BTC"). It is also my understanding that in order to redeem investment

      proceeds, MCC investors were told that they only needed to complete the follow ing steps: (i)

      open an account with a third-party crypto asse t tradi ng platfonn; (ii) submit a w ithdrawa l

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      request on the MCC "back office," which is the website where MCC investors can manage

      their investment accounts; (iii) transfer Bitcoin from their wa llets on the MCC back office to

      their wallets on the third-party crypto asset trading platform; and (iv) sell the Bitcoin for

      cash, or ho ld it as an investment.

   Bitchain

   33. Based upon my participation in this Investigation, it is my understanding that in late 2019,

      MCC changed its redemption rules such that MCC investors had to receive their investment

      proceeds in Capital Coin tokens ("CPTL"). Furthermore, based upon my review of a MCC

      tutorial video produced by Enoque Pires (Bates numbered MCC ENOQUE 95), it appears

      that MCC charged investors what it charac teri zed as a $ 100 know-your-customer ("KYC")

      fee between March 27 and April 19, 2020, which MCC required before investors could

      receive their proceeds in CPTL. (See Exhi bit 14, pp. 2-3, screenshot from MCC ENOQUE

      95.) Based upon my participation in this lnvesti gation, MCC investors were not aware of the

      KYC fee before they purchased mining packages, and therefore, did not receive prior notice

      of the fee.

   34. According to Exhibit 8 (page 18), and as described in paragraph 27(f) above, CPTL was

      MCC's own coin. I reviewed a contract that is Bates No. MCC CAPUCI 000643 (attached as

      Exhibit 15), refl ecting that Capuci contracted with others to create CPTL on March 26,

      2020. In addition, based upon my participation in this Investigation, I am aware that CPTL

      purported to be traded on Bitchain , and that Capuci represented that Bitchain was

      independent of MCC. In particular, I reviewed a vi deo of Capuci, provided by an investor,

      in which Capuci claims that he did not own Bitchain , that MCC and Bitchain are not the

      same companies, and that MCC and Bitchain do not have the same owners. In the video



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      Capuci states: "MCC is a group which together has MCC, [a mall] , and own about 30%-40%

       CPTL. Bitchain is a separate company, founded by a Brazilian guy," and later sold to a

       Chinese group . He furth er states : "I don't own Bitchain. When I give some announcements

       about Bitchain , or videos or a udios, it's because I ge t infom1ation and I want to send

       information to you guys. J want to clarify for you guys - Bitchain for last 20 days was a littl e

       bit slow wi th transfer and withdrawals; the reason was they were creating APL" In the same

      video, Capuci acknowl edges that Bitchain was slow and that MCC investors were

       experiencing delays in getting their w ithdrawals. Additionally, based upon my observation of

      w itness interviews and testimonies in thi s Investi ga tion, it is my understanding that Capuci

       exp lained to MCC investors th at they cou ld redeem their investment proceeds in CPTL on

      Bitchain because CPTL was li sted on Bitchain.

   35. Based upon my participati on in this In vestiga tion , it is my understanding that in order for

      MCC investors to redeem their investmen ts in CPTL, they had to create a walle t or an

      account with Bitchain , whi ch required a fee. Then, the MCC investors had to transfer fu nds

      fro m th eir MCC bac k office wallets to wallets th ey had to create on Bitchain , whi ch MCC

      purported to be a third-party di gital asse t trading platform. Once the fund s were transfened to

      Bitchain , MCC investors could see the va lue of their accounts in CPTL and its va lue in U.S.

      dollars . However, there was no m echani sm for MCC investors to sell or trade their CPTL on

      Bitchain. Therefore, MCC investors could not redeem their purported investment proceeds.

      As time passed, MCC investors' one-year memberships expired. In order to continue hav ing

      access to their investment proceeds, they had to pay the same price of the mining package

      they purchased as a renewal fee . Based upon my participation in this Investi gation, I am not




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      aware of any MCC investor who has successfully withdrawn, sold, traded , or used their

      CPTL.

   CPTLCoin

   36. I have reviewed CPTLCoin 's website as it existed on March 29, 2021, a copy of which is

      attached as Exhibit 16. The website depicted a photo of a man , with the name "Luiz Capuci

      Jr." next to it, and the title "Founder and CEO of CPTL Coin." See Exhibit 16, p. 2. Above

      the photo was information stating that the "CPTL Market Value" was $2.43. Based upon my

      participation in this Investigation, it is my understanding that on March 29, 202 1, the actual

      closing value of CPTL was $0.000605 according to

      https: //www.coincarp.com/currencies/cptlcoin/history/, (attached as Ex hibit 17, p. 22).

      " Coin Carp" is a publi c website that describes itself as providing " real-tim e, accurate and

      highly-quality market data services to insti tutional and retail investors by aggregati ng and

      ana lyzin g market data, blockchain data, social infom1ation and other data from hundreds of

      cryptocurrency exchanges around the world." See www.coincarp.com/aboutus.html.

  37. ln addition, the CPTLCoin website listed "Some exchanges that already work with CPTL

      Co in ," including Bitchain, "Bittech Wallet," and "USAExchange" . (Ex hibit 16, p. 5.)

      Accordin g to my review of Domains By Proxy records, Capuci registered Bittechwallet.com

      on January 15, 2019 (Exhibit 2, DBP 000001-2). He also registered USAExchanges .com on

      February 28, 2019 (Exhibit 2, DBP 000011-12.)

  38. On August 24, 2021, I reviewed the Bitchain website, which also showed that the price of

      CPTL was $2.43. However, based upon information in Exhibit 17 (page 32), it appears that

      the actual closi ng value of CPTL on August 25, 2021 was $0.00032.




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  39. I have also reviewed the CPTLCo in white paper that is Bates numbered MCC CAPUCI

     002497-002525 , attached as Exhibit 18 . T he w hite paper states : "Over time, CPTL expects

     its native token to increase in price and market capitalizati on. This wi ll reward early token

     holders and platfo1m adopters, as wel l as encourage more users to join ." (Exhibit 18, p. 22.)

     The CPTLCoin white paper also states: " CPTL Coin has 5,000,000,000 tokens in maximum

     supply." (Id.)

  40. I have listened to two audio recordings of Capuci , which were publicly available on

     YouTube at https: //www.youtube.com/watch?v=fBvYuSczhWO , entitled "MCC - Mining

     Capital Coin Meeting Part I - Y ouTube ," posted December 7, 2020, and

     https://www.youtube.com/watch?v=6rTga ID JwGE, entitled "MCC - Mining Capital Coin

     Meeting Part 2 - YouTube" posted December 8, 2020. (Screenshots and collection reports of

     these videos are attached as Exhibit 19 .) In these videos, Capuci represents that there is an

     application to list CPTL on " Coinbase." ln addition , I have watched a self-filmed video of

     Capuci provided by an investor, in wh ich Capuci states that CPTL wi ll be li sted on

     " Coinbase" by July I. I understand this to mean Jul y I, 2021 based upon my participation in

     this Investigation. (A screenshot of this self-filmed Capuci video is attached as Exhibit 20.)

     In the same self-filmed video, Capuci states that the "MGM mall" is complete. It is my

     understanding that the "MGM mall" refers to MCC's purported e-commerce platform that

     Capuci and Pires claimed would accept CPTL in exchange for goods.

  41. I also reviewed WhatsApp messages produced by investors, including Exhibit 21, which

     provides highlights of a February 13, 2020 webinar with Capuci, including:

                a. "MCC Pay App / Payment System - coming soon by the end of February/early
                   March. Similar to Zelle/Cash. App available in the USA. It ' s currently
                   available in Asia and already connected to approximately 2 million people in
                   Asia. The MCC Pay App is being des igned to be usable all over the world .


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                      Currently waiting for_authorization for other countries including the USA. "
                      (Ex hibit 21 , p. 2.)

                 b. "Arrangements have been made with major Casinos and hotels in Asia to
                    accept CPTL co in ." (Id.)

  42. l have li stened to an audio recording, with a file name of"AUD-20200424-WA00I l.ogg,"

     whi ch was provided to the SEC by a MCC investor, who had received the recording through

     WhatsApp. In the audio recording, Pires explained that CPTL would "eventually become

     decentralized because it will become a payment platform, just like the fiat currency we have

     today," that CPTL was now "in the market," and that "we're having casinos that are going to

     be using the coin, we have [a] mall that 's going to be using CPTL."

  Problems with Bitchain

  43. Based upon my participation in this Investigation , it is my understanding that MCC inves tors

     were not informed of Ca puci 's ownership or control over Bitchain . Instead, MCC investors

     received WhatsApp messages purporting to describe efforts by MCC and Capuci to work

     with Bitchain in order to reso lve problems that prevented investors from receiving their

     MCC in vestment proceeds. Based upon WhatsApp messages provided by investors and

     investor testimonies, it is my understanding that Capuci offered updates on his conversation

     with Bitchain , and that webinars were offered to investors concerning how to transfer funds

     from MCC wall ets to Bitchain wall ets.

  44. I also watched a video that was provided by a MCC investor, which is Bates numbered SEC-

     CROSSM-E-470, a screenshot of which is attached as Exhibit 22. In the video, Capuci

     discusses how the Covid-19 pandemic has affected MCC. Capuci also states that it is

     projected that CPTL's va lue wi ll increase ten times by next year and that this was

     "guaranteed. "



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   45. I also observed a " COVID-19 NOTICE" on the Bitchain website, wh ich states: "Bitchain

      Exchanges would like to announce to everyone that we have rece ived an update for Capital

      Co in li sting. As we prepare to impl ement the exchange between cryptocurrencies in our

      platform, we have been facing some delays . .. . Unfortu nately we have all been impacted by

      Covi d- 19 and our requests for certain approvals have been slower than usual. "

   46. I have reviewed audio and video recordings gathered in this In ves tigation, in which Capuci

      encouraged investors to be patient, because CPTL will be listed on Coinbase by Jul y 202 1.

   47 . Based on the web captures of Bitchain that I have reviewed , the Bitchain website displayed

      a running banner that purported to display real-time prices of crypto assets such as B itcoin,

      Ethereum, Liteco in, Tether, Augur, Tron, Cardano, EOS , TenX , and CPTL.

   48. I reviewed a document, which appears to be a screenshot from th e MCC back office and is

      Bates numbered MCC CAPUCI 002557, attached as Exhibit 23 , and states: "The

      promotiona l event of the CPTL at $0 .10 is fini shed, stay tun ed fo r more upcoming

      promoti ons," and prominently di spl ays "Promotion ended" at th e bottom of this news post.

  Misrepresentations

  49. 1 have watch ed a publicly avai lable YouTube video entitl ed "Mining Capital Coin Africa

      La unch," which was prev iously available at

      https: //www.youtube.com/watch?v=CSjdXfr70nA as of September 30, 201 9, in whi ch

      Capuci states, "I worked for the government, for the FBI in the United States for almost 8

      years for the federa l government." The FBI has confitmed to the SEC that Capuci was never

      employed by the FBI in any capacity.




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   50. I ha ve al so rev iewed a v ideo entitled , "Facebook M ining Cap ital Coin," in which Capuci

      states, "That MCC has a partnership wi th C linton Foundati on , United States." I have seen no

      ev idence of any such partnership .

   5 1. Furthermore, the MCC Portfolio states, " MCC has partnered with The World Bank to secure

      an investment in ECO fr iend ly power ge nerators." (Ex hibit 8, p. 16.) I have seen no

      evidence of any such partners hi p.

   52. In addition, despite representati ons that th ere was an application to li st CPTL on "Coinbase"

      and that CPTL wou ld be li sted on "Co inbase" by Ju ly 202 1, see infra ,i 40, I have reviewed a

      letter from Coi nbase, Inc. ("Coi nbase") dated October 25, 202 1 (Exhibit 24), responding to

      the SEC's October 7, 202 1 subpoena seeking "A ll Documents an d Communications

      Concerning the list ing or poss ibl e li st in g of CPTL Co in Tokens or Capital Coin Tokens

      ('CPTL Co in Tokens') on Co inbase, inc ludi ng, but not limited to , any applications for CPTL

      Coin Tokens and any Communica ti ons reflectin g requirements fo r CPTL Coin Tokens to be

      listed on Co inbase." In its October 25 , 202 1 letter, Co inbase's res pon se to thi s request was as

      fo ll ows: "It does not appear that C PTL Co in Tokens have been considered for listing, an d

      Co inbase has been un ab le to identify material s respo nsive to thi s request." See Ex. 24.

  MCC Investors

  53 . According to an investor li st produced by Capuci , w hi ch is Bates- numbered MCC CAPUCI

      100, there are 65,535 MCC investor accou nts, including abou t 1,200 investor accounts w hose

      contact information includes U.S . citi es.

  54. Based on my partic ipation in thi s In ves ti ga tion , I am awa re that although Capuci and Pires

      produced some documents to the Commission , they subsequentl y invoked their Fifth

      A mendment privil ege aga inst se lf-incrimina ti on an d the act-of-producti on doctrine in



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       res ponse to SEC subpoenas. I rev iewed th e transcript of th e Fe bruary 3, 2022 voluntary

       interv iew o f Capuci , w herei n he asserted hi s Fi fth Amendment right aga in st self-

       incriminatio n, and th e tra nscript of th e Jan uary 11 , 2022 testim ony of Pires, w here Pires did

       the same. T he tra nsc ripts are attached as Exhibits 28 and 29, respecti ve ly.

   55. Furth erm ore, Capuci and Pires have refu sed to respond to subp oena requ ests seekin g th e

       addresses of d ig ital wall ets that were used to receive an d transfer MCC investo r funds.

       Capuci has provided so me informati on concerning U. S. bank accounts but has obj ected to

       provi din g th e Commi ss ion with any fo reign bank account inform ati on or identify ing any U.S.

       ba nk acco unts he opened after he rece ived th e first subpoena in thi s matter issued on Ju ne 29,

       2021.

   56. In ad diti on, MCC has not provided th e Commi ss ion with any fi nancial sta tements, ba lance

       sheets, cash fl ow stateme nts, tax returns or any oth e r books and records to reflect sources of

       revenue for any leg itimate bus iness ope rations. Nor has MCC provided th e Co mmi ssion wit h

       complete investo r in formati on and fi na ncia l account inform ati on th at would ena bl e

       Com mi ssio n Staff to cond uct a full trac ing of inves tor fu nds.

   57. Accordin gly, the Commi ss ion lac ks suffi cient data to determin e the total a mou nt of in vestor

       fu nds and fees rece ived by MCC, Capuci, and Pires and w hether any fees pai d to Bitchain

      were provided to MCC, Capuci, and Pires .

  58. Assuming th ere are 65,535 investor acco unts, and using the least expensive mi ning package,

      whi ch MCC so ld fo r $ 125, it is my und erstandin g th at MCC ra ised at least $8. 1 milli on fro m

      the sale of mi ning packages. Furth er, if each of th e 65,53 5 investo rs pa id a $50 initi ati on fee ,

      then MCC likely received an additi onal $3.2 million, in initiati on fees. And if each of the




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       65 ,535 in vestors paid the$ I 00 KYC fee charged by MCC in order to g ive in ves tors CPTL,

       then MCC received an additional $6.5 million in KYC fees.

   Capuci and Pires Testimony from First Investigation

   59. This Investigation is the second in vesti gation of MCC, Capuci , and Pires . The first

       investigat ion , In the Matter of Mining Capital Coin f nternational Corp. (C-08623) ("First

       Investi gation"), took place before I j oined the Comm ission . I have rev iewed the testimony

       transcripts of Capuci an d Pires in the First Investi gation, both of who m provided separa te

       sworn testimony on February 18, 2020. (A copy of the Capuci and Pires testimony

       transcripts from the First Investigati on are attac hed as Exhibits 25 and 26, respecti ve ly.)

   60 . ln additi on to testifying th at MCC had no U.S. inves tors or U .S. opera ti ons , Ca puci and

       Pires testified that their MCC salaries were deposited into their persona l digita l wa ll ets. (Ex.

       25 , page 36-37 ; Ex. 26, page 5 1.) They both testifi ed that th e ir sa lary ranged from $5 ,000 to

       $20,000 in BTC per month , and that they so ld the BTC through d igita l asse t trad in g

       platforms, such as Coinbase. (Ex. 25 , page 37-38; Ex. 26, page 5 1.) Capuci fu rth er testified

      tha t MCC was hi s onl y source of income at th at time. (Ex. 25 , page 74.)

   6 1. Based upon my review of the February 18, 2020 testimony transcripts of Capuci and Pires, I

      read that they ex plained that "MCC International Corp ." never operated in the U nited States

      after they obtai ned legal advice and concluded th at th eir pl ans to se ll software that traded

      forex currencies an d di gital assets, and to mine and sell di gital assets, wou ld not work in the

      United States. (Ex. 25 , page 27-28.) Pires testified th at "MCC International Corp ." "never

      operated," and Capuci testified th at the attorney whom they con sulted to " legali ze" MCC

      " shut us down." (Ex. 25, page 27-28; Ex. 26, page 16.) Pires and Ca puci further ex pl ai ned

      that MCC operated outside of the United States, namely, in Braz il , Afri ca , and As ia. (Ex. 25 ,



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      page 20, 33; Ex. 26, page 24.) They a lso produced a member li st reflecting only 2,501 active

       members in th e First In vestigation without any U .S. addresses. Rega rdin g mining machines,

      Pires testified, "We had personal minin g machines here in the U.S. but we never really used

       them. We never used th em ." (Ex. 26 , page 60.) Capuci testifi ed that they purc hased 80-100

       mining machines that were shipped to th e United States, but did not pursue mining after

       discovering that one mining machin e " uses more electricity than the whole building. " (Ex.

       25, page 29.) He also testified that he put the mining machines in storage and " never

       move[d]" them . (Ex. 25 , page 29.)

   62. Attached as Exhibit 27a is the Decem ber 29, 202 1 subpoena to MCC requesting information

       concerning MCC's trading p latform and tradin g robots . Attached as Exhibit 27 is MCC's

      response to th e Decembe r 29 , 2021 subpoena in which MCC sta ted that it " has no documents

       to produce beca use it has never bee n in vo lved with ' tradin g robots'." (Exhibit 27, Respon se

      to Required Document Nos. 3-7 , pp. 2-4.) S imil arl y, MCC also stated that it " has no

      documents to produce because it has neve r been in vo lved with ' trading pl atfo1111s ' ." (Id.)

   63. I have reviewed th e transc ripts of th e Janua ry I I, 2022 testimon y of Pires and the February

      3, 2022 vo luntary interv iew of Capuci. Based upon my review of these transcripts, it appears

      that Capuci and Pires in voked their Fifth Amendment rights against self-incrimination in

      response to questions about whether MCC had tradin g robots a nd trading platforms. (Ex. 28,

      pp. 75, 109-110; Ex. 29, page 24)

   64. Based upon my participation in thi s lnvestigation , it is my understanding that the MCC

      " back office" showed investor account ba lances and I % daily profits (7% week ly profits)

      that were deposited once a week into in ves tor accounts. It is also my understanding that when

      MCC investors transferred their bal ances or requ ested withdrawa l amounts to their Bitchain



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      wa ll ets, investors cou ld see on th e Bitch ain website the value of their wallets. Based upon

      the scre enshots of Bitch a in wa ll et balances that in vestors have provided, I observed that the

      balances ranged in va lue from thousands of dollars to hundreds of thousan ds of doll ars.

   How MCC Investors Paid For Mining Packages

   65 . The ev idence I have reviewed refl ects th at th ere were various methods in whi ch MCC

      investors paid for mining packages, including :

                  a. New inves tors obtained cashi er's checks that were deposited directly in to
                     bank accounts controll ed by Capuci and Pires, namely th e "Hi Tech
                     Com merce and Logistics Corp ." and "MCC International Corp. " bank
                     acco un ts, described in paragraphs 88 to 92 below.

                  b. New in vestors provided th eir sponsors investor funds v ia Ze ll e, Chase
                     Quickpay, or cash, who wo uld then purchase digital assets to give to MCC on
                     the investor 's beha lf.

                  c. New in vestors who had access to di gital assets created th eir own MCC
                     accounts on the MCC back office, using the link provided by their spon sors.
                     When submitting payment of th eir digi tal assets, the MCC pay ment page
                     crea ted uniquely-generated wallet addresses, to wh ich investor funds were
                     purportedly tra nsferred.

  66. Based upon my rev iew of financia l records in this Investigation, it also appears that Cap uci

      a nd Pires rece ived in vestor funds directly via w ire transfer, Ze ll e, and Quickpay as described

      in paragraph s 73 to 78 below . In addit ion , as outlined in paragraphs 77 to 78 be low, between

      January 20 18 and January 2022, Capuci and Pires received approximately $1 .2 million and

      $2.1 mi lli on in cash, res pectively, in depos its to bank accounts they contro ll ed and whose

      sources cannot be detem1ined .

  Coinbase Records

  67. As mentioned above, in the F irst In ves ti ga tion , Ca puci and Pires testifi ed that they received

      their MCC salari es in BTC, whi ch th ey deposited into their Coinbase accounts. My

      co lleague, SEC Acco untant Steven Tremaglio, has cond ucted an analys is of Ca puci and


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     Pires's Co in base accounts, and hi s Decl ara tion is attac hed as Ex hibit B in support of the

     SEC's Ex Parle Emergency Motion for a Temporary Restrain ing Order an d Emerge ncy

     Ancillary Relief.

  Tax Filings

  68. Pires produced two unique sets of federal indi vidual tax form s fo r different tax years w ith hi s

     name and tax identification number. The first forms produced, dated for the tax years ended

     December 2 1, 201 8 (Exhibit 30) and 2019 (Exhibit 31 ), were pu rportedl y prepared by

     someone named Leah McLaughlin . No occupation was noted for the tax fi ler on Form 1040

     and the forms were not signed by Pires or anyone else. Th e 201 8 fi le included Schedul e C

      income of $50,000 and adjusted gross income of $33 ,88 1. The 20 19 fi le included Schedul e C

      income of $50,000 and adjusted gross income of $33 ,683. The principa l business or

     profess ion noted on Schedule C fo r both 201 8 and 201 9 was noted as " contractor."

  69. Pires produced a second Form 1040, U.S . Individual Income Tax Return , fo r the tax yea r

     ended December 31 , 20 18 (Ex hibit 32) . The 201 8 tax fi le inc luded Schedu le C, Profit or

     Loss From Business, with the principal business or profession repo rted as " Com puting,

     Software Developer." Gross sales from this business fo r 20 l 8 were re ported on Schedule C

     as $367,824. The net profit from the business was $240,627 , which was reported as the onl y

     source of income on the 20 I 8 tax return. There was no notation of a tax preparer name, and

     the form was not signed by Pires or anyone else.

  70. Pires also produced a second Form 1040, U .S. Indiv idua l Income Tax Return , for the tax

     yea r ended December 3 1, 20 19 (Ex hibit 33). The 20 19 tax fi le inc luded Schedul e C, Profit

     or Loss From Business, with the principal business or profession reported as "Computing,

     Software Deve loper. " Gross sales from this business for 2019 we re reported o n Schedule C



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       as $312 ,035 . The net profit from the business was $ 188 ,239, which was reported as the onl y

       source of income on the 2019 tax return . There was no notation of a tax preparer name, and

       the form was not signed by Pires or anyone el se. Therefore, it remains unknow n whether

       thi s second set of tax fo rm s we re fil ed .

   71. Based on my revi ew of the tax documents produced by Pires for tax years 20 I 8 and 2019 ,

       gross sales for the 2 years from hi s "Computing, Softwa re Developer" business was

       approximately $679,859.

   72. Based on my review of the tax docum ents filed by Pires , no sa lari es or wages were reported

       as being paid to him for compensati on of work compl eted at MCC, or any other business

       entities he orga ni zed and/or opera ted during th ose yea rs.

  Bank Records and Financial Analysis

   73 . As part of my participati on in thi s In vesti ga ti on, I analyzed reco rds, for the time period

       January 201 8 through January 2022 , fo r approx imate ly 22 bank and credit card accoun ts that

       Capuci and Pires controll ed as auth orized signors.

  74. I analyzed deposits (credits) to bank acco unts based on the fo ll owing sources of fund s

       received: Coinbase, PayPa l, Zell e, w ire tra nsfers, cash, oth er sources and refunds. The total

       amounts noted as bein g deposited to the bank acco unts from each source were traced back to

       the source to ensure all a ppropri ate deposits were included in the bank records.

  75 . Between approximatel y January 201 8 and January 2022, Capuci received approximately$ I 3

      million into 13 different bank accounts th at he controll ed. Capuci spent approximately $4 .8

       mill ion on expenditures fo r ve hicl es leases and purchases, res identia l property, yachts and

      child support. He made pay ments tota ling $2.7 million to fri ends, individuals who appear to

       be fa mil y members, and other unkn ow n individua ls. Capuci incurred other expenditures of



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       $5.6 million that included lega l fee s, vi deo production fees, and other expenses for

        miscellaneous or unknown goods and services.

   76. Between approximately January 20 18 and January 2022, Pires received approxima tel y         l 0.9

        million into nine (9) different bank accounts that he contro ll ed. Pires spent approximately

        $800,000 on expend itures for apparel , jewelry, vehicles and travel. He made payments of

        nearly $7.6 million to individuals who appear to be fami ly members or friend s and other

        unknown individuals. Pires incurred other expenses of $2.5 million for computer services,

        equ ipment, legal fees , video production fees, and other miscellaneous or unknown goods and

        services .

   77. The fo llowing chart is a summary of the deposits into the approximately 22 bank accounts

        contro ll ed by Capuci and Pires that were made between approximately January 2018 and

        January 2022 :

                                                DEPOSITS
                                    Luiz Caouci Accounts            Emerson Pires Accounts
                 Source 8           Amount        Percentae:e       Amount       Percentage
                Coinbase           $ 4,847,884      37.3%            $ 245,134      2.2 %
                 PayPal              2,863,515      22.0%               323,312     3. 0%
                  Ze ll e              131,527       1.0%               150,776      1.4%
              Wire tran sfers        1,925 ,828     14.8%             7,502,766    68 .8%
                  Cash               1,255,561       9.7%             2,128 ,937    19.5%
                  Other              1,83 9,949     14.2%               526,603     4.8%
             Refunds/Returns           132,276       1.0%                2 1,622    0.2%

  8
      Key:
             a) Coinbase refers to the amount of U.S. dollars wi thdrawn from Coinbase wallets
                directly to bank accou nts.
             b) PayPal refers to the funds withdrawn from PayPal accounts to bank accounts
             c) Zel le refers to bank-to-bank transfers of funds from individuals account owners to
                bank accounts. This is net of any intercompany (same business owner) transfers .
             d) Wire refers to funds transferred from bank to bank via a bank wire transaction
             e) Cash refers to cash funds deposited via A TM or bank teller wi th no source references
             f) Other - transfers from other bank accounts (no identifiers) , interest income, insurance
                claims paid , vendor receipts and unknown sources


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                                       DEPOSITS
        1----------f---
                           Luiz Ca uci Accounts                      Emerson Pires Accounts
            S our c e 8
        1----------f---
                           Amount        Percenta e                  Amount       Percenta e
                                                                    $ 10,899,150    100.0%
        ~T-
          ota
            --l Deposits
                 ~ - - ~ $- 12,996,540
                            -             100.0%


   78. As illustrated by the chart above, more than half ($7 ,7 11 ,399 or 59%) of the fu nds deposited

      into Capuci 's bank accounts were fro m Coinbase and PayPal. Th e majori ty ($9,782,479 or

      90%) of fund s deposited into Pires's bank accoun ts were from primary sources, including

      Ze lle, wi re transfers and cash. The Zell e and w ire tra nsfer deposi ts can be traced to original

      sources based on names, ori ginating banks or oth er identifi ers, but limited or no detailed

      information regarding the business purpose of the deposits was pro duced durin g the

      investigation .

  79. The below charts illustra te exampl es of w hat appear to be w ire tra nsfe rs by MCC inves tors

      re lated to the purchase of MCC mining packages:

                  a.    Wire T ra nsfers Into J.P . Mo rga n Chase Bank acco unt ending 2093 in the
                        name of "Hi Tech Commerce and Logisti cs Corp." ("Hi Tech Bank
                        Account"), of which Capuci was the onl y autho ri zed s igner:

            Wire Transfer           Pa yee        Amount                 Description
                 Date
              8/7/2019            Inves tor A     $2, 142.5 0   "For MCC P latinum Packa
             8/21/201 9           Inves tor A       $22 ,480    "For M CC VJP Base Packa e"
              I 0/1 0/ 19         In ve stor B      $41 ,965    "PAYING FOR M ATERIAS
                                                                (M ACHINERY FOR
                                                                MININ G)"
                TOTAL                            $66,587.5 0


                  b. Wire Transfers Into J.P . M organ Chase Bank acco unt ending 995 0 in the
                     name of "MCC Intern ati onal Corp." ("MCC Bank Account") of which Pires
                     was the onl y authori zed signer:




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            Wire Transfer           Payee        Amount               Description
                Date
              12/3/20 18          Jn vestor C         $2,390   " [E.J .] FOR l PLATINUM
                                                               AND 2 BRONZE
                                                               PACKAGES JNYESTMENT"
               I 2/5/2018         In vestor D         40,990   " FURTHER CREDIT TO
                                                               TRADING ACCOUNT"
                TOTAL                             $43 ,380


     MCC Investor Deposits

  80. Capuci's Hi Tech Bank Account received payments from individuals whose names are on

     the investor li st produced by Capuci refere nced in paragraph 53 above, and they include:

                                                          Transaction
                  Posted Date           Amount                Type            Payor
                  20 18- 11-1 6     $      5,090          Wire Transfer    Investor # 1
                  2019-0 1-1 5               509              Ze lle       Investor #2
                  2019-01-1 6              5,042          Wire Transfer    Investor #3
                  20 19-01 -28                  IQ            Ze ll e      Investor #2
                  20 19-02-19                   100           Ze ll e      lnvestor #2
                  20 19-02-25               22, 150       Wire Transfer    Investor # 5
                  20 19-05-09                3,2 55       Wire Transfer    Investor #6
                  20 19-05 -09               5,050        Wire Transfer    Investor #7
                  20 19-05-13                7,3 50       Wire Transfer    Investor $8
                  2019-05-23                 1,000            Ze ll e      Investor #2
                  20 19-06-1 2               4,000        Wire Transfer    In vestor # 9
                  20 19-06-14                  980        Wire Transfer   Investor # 10
                  2019-06-28                 7, !00       Wire Transfer   Investor # 11
                  20 19-07-16                1,000        Wire Transfer    Investor #6
                  20 19-07-19                1,490        Wire Transfer   Investor # 12
                  20 19-07-26                  490        Wire Transfer   Investor # 13
                  20 19-07-26                2,040        Wire Transfer   Investor # 14
                  20 19-07-29                1,000            Ze ll e     Investor # 15
                  20 19-08-02                1,740        Wire Transfer   Investor # 16
                  20 19-08-05                  500            Ze ll e     Investor # 17
                  20 19-08-07                  500            Zelle       Investor # 17
                  20 19-08-08                2,040        Wire Transfer   Investor # 14
                  20 19-08-09                  500            Ze lle      Investor # 17
                  20 19-08-09                1,490        Wire Transfer   Investor # 16
                  20 19-08-16                    50           Zelle       Investor # ]?
                  20 19-08-26                3,480        Wire Transfer   Investor # 18

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                     2019-09-10            2,500         Wire Transfer    Investor #9
                     201 9-09-1 7          1,600         Wire Transfer   In ves tor # 19
                     201 9-09-1 9            340         Wire Transfer   Investor # 16
                     201 9-09-20           1,015         Wire Transfer   Investor #2 0
                     201 9-10-07           1, 190        Wire Transfer   Investor # 16
                     2020-03-23               190            Zell e      Investor #2 1
                     2020-03-27              200             Ze ll e     Investor #22
                     2020-03-27            2,200             Zell e      Investor #22
                     2020-03-27              400             Zelle       Investor #2 1
                     2020-03-30              294             Zelle       Investor #2 1
                     2020-03-3 1           1,600             Zell e      Investor #22
                     2020-04-01               100            Zelle       Investor #22
                     2020-04-01            1,400             Zelle       Investor #2 1
                     2020-04-07            1,000             Zelle       Investor #2 1
                                    $     91,985           Total Named   Deposits

  See Exhibits 38 and 43 .

   8 1. Based upon my parti cipati on in thi s Investi gation , I am aware that there was a team of MCC

      in ves tors who identifi ed th emselves as the "D ream Team. " I am also awa re th at a person

      whose initi a ls are M .B . led the Drea m Team and was the onl y authori zed signe r of a Ba nk of

      America acco unt in the name of "Drea m Bi g Global LLC." I observed that Dream Bi g

      G lobal made the fo llowing payments to Capuci 's Hi Tech Bank Account:




                                                    Transaction
                Posted Date        Amount              Type                 Payor
                2020-03-20       $    5,000           Deposit         Dream Big Glo ba l
                2020-03-20            1,679           Deposit         Dream Bi g Globa l
                2020-03-23            5,000           Deposit         Dream Big Global
                2020-04-02            5,000           Deposit         Dream Big Gl oba l
                2020-04-02            3,632           Deposit         Dream Big Globa l
                                $    20,311           Total Dream     Big Deposits

  82. Based on the fo rego ing (totals from paragraphs 79, 80, and 8 1 above), J ca lcul ated that

      Capuci 's Hi Tech Bank Account received approximately $ 178,88 3.50 from MCC inves tors.




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   83 . Pires's MCC Bank Account rece ived payments from ind ivid uals whose names are on the

       investor list produced by Capuci referenced in paragrap h 53 above , and they inc lude:

                  Posted Date      Amount       Transaction Type        Pavee/Pavor
                  2018 -1 2-05     $40,990         Wire tran sfer        In vestor # I
                  2018 -1 1-2 1       2,550    Depos it: Cash ier check  Inves tor #2
                  2018- 11-23         4,000    Deposit: Cash ier check   Investor #2
                  2018 -1 1- 19       8,190        W ire transfer        In vestor #3
                                    $55,730              Total Na med Deposits


      See Exhibit 44 .

   84. Based on the forego ing (tota ls fro m paragra phs 79 and 83 above) , I ca lculated that Pires's

      MCC Bank Account received approx imate ly $99, 110 fro m MCC inves tors.

      Summary of Sources and Uses in Ca puci and Pires Bank Accounts

   85. The fo ll owing tables ill ustrate summar ies of tra nsac tions recorded in th e bank accounts

      contro ll ed by Ca puci and Pires durin g th e tim e period from Jan uary 20 18 to Ja nuary 2022.



                                           Capuci - 13 accounts
                   Beginning Ba lance                                        $      l 08,42 9
                         Sources/De posits (Ex hi bi t 49)                       13,034 ,938
                         less: Uses/Expendi tures (Exhi bi t 49)
                                 Paym ents                                    (2 ,660,5 19)
                                  Personal expenditures                       (4,8 17,38 1)
                                  Other ex penditures                         (5 ,648 ,8 13)
                         Total Uses                                         ( 13,126,713)
                                    Ending Balance                           $      16,653



                                            Pires - 9 accounts
                    Begin ning Ba lance                                      $      2,401
                        Sources/Deposits (Exhibit 50)                         I 0,979,845
                         less: Uses/Expend itu res (Exh ib it 50)
                                  Paym ents                                   (7 ,592 ,23 1)
                                  Personal expenditures                         (838,58 I )
                                  Other expenditures                          (2 ,549,662)


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                                               Pires - 9 accounts
                          Total Uses                                             ( 10,98 0,4 73)
                                                                                      $ 1,773
                   ' - - - - - - - - Endini
                                     - - ~ Balance


       Misappropriation

   86. As part of my parti c ipati on in thi s In ves ti ga ti on, J have reviewed account records and

       statements for th e Hi Tech Bank Acco unt for th e entire peri od th at th e account w as open,

       whi ch was from approx imate ly Jun e 201 8 to A pril 2020 (Exhibit 50). B ased upon m y review

       of those record s, it appea rs that durin g th a t peri od Capuci spent nearly approximately $2

       milli on, an amoun t th at inc ludes in vestor funds, inc luding th e fo llowing :

           •   $9,7 00 on appare l, w hich inc ludes lu xury stores like Louis Vuitton ,
               Sa lva tore Fe rraga mo, and G ucc i;

           •   $23,400 on marina fees and oth e r boa tin g expenditures;

           •   $26,700 on one year o f c hild suppo rt to an indi v idua l th at I be li eve , based
               upon my pa rt ic ipati o n in thi s In vesti gati on, to be Capuci 's first ex-w ife;

           •   $33 , 1 JO in additi ona l pay ments, v ia va ri ous e lectroni c payment apps, to
               Capuci 's first ex-w ife ;

           •   $5 ,200 fo r poo l co nstru cti on and ma intenance ;

           •   $2 1,900 on entertainment, inc luding go lf c lub memberships, streaming
               services, and Appl e produ cts;

           •   $3 0,65 0 on mea ls;

           •   $ 141 ,745 on domest ic and intern ation a l trave l;

          •    $22 1,000 on paymen ts re lated to moto rcyc les, luxury automobiles, and
               oth er car rentals;

          •    $36,000 in Ze ll e pay ments to Capuci' s current spouse; and

          •    $36,500 in Zell e payments to E&J Granite In sta ll LLC, w hi ch is
               contro ll ed by Pires as di scussed above in paragraph 3.




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    87. As part of my participation in this Investigation , I have obtained account records and

        statements for the MCC Bank Account for the entire period that the accoun t was open , which

        was from approxima tely October 2018 to January 20 19 (Exhibit 51). Based upon my review

        of those records, it appea rs that during that time period Pires spent over approx imate ly

        $97 ,000 , an amount that includes in vestor funds, on the following :

              •   $1 ,737 at Half Price Mattress;

              •   $2 ,742 at Ashley Home Stores;

              •   $260 for Disney World tickets;

              •   $ 15 ,600 on airline tickets;

              •   $3 ,800 on hotels;

              •   $ 10,500 on purchases from stores that appear to be located in foreign
                  coun tri es , including in China, Korea, Poland , Turkey, United Kingdom ,
                  Ge rm any , and Spain ;

              •   $7 ,000 at Diamond Va ult.

    Th e MCC Bank Accou nt was closed on or about January 14, 2019 , when approx imately $49,000

    was withdrawn .

        Financial Accounts Used By Capuci

    88. Based upon my participation in this Investigation and materials reviewed , Capuci created

        bank accounts for certain related entities referenced in paragraph 13 above, including: H i

        Tech Commerce, U nited General Constrnction, Bittech Global, Conde Jackson , and SL

        Trustee. Capuci was the authorized signor for these bank accounts. I reviewed the opening

        documents for the following bank accounts used by the businesses controlled by Capuci.

                                                            Account
 Banking                                                                  Account         Open         Close
                         Account Holder Name                Ending
Institution                                                                Type           Date         Date
                                                            Number
 TD Bank              United General Construction            2754         Checking     10/10/20 I 7   6/5/20 18


                                                       35
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                                                              Account
 Banking                                                                  Account        Open            Close
                        Account Holder Name                   Ending
Institution                                                                Type          Date            Date
                                                              Number
 TD Bank             United General Construction               2762      Checking      I Oil 0/20 17   6/5/2018
 TD Bank             Un ited General Construction              79 12     Checking      5/19/2017       6/5/2018

 TD Bank             United General Construction               7920      Checki ng     5/ 19/20 17     7/3/2018
 TD Bank        Hi Tech Commerce and Logistic Corp             56 12     Checking      12/13/20 17     6/7/2018

  Citibank      Hi Tech Commerce an d Logistic Corp            8352      Checking      8/18/2020       2/14/2022

  JPMCB         Hi Tech Commerce and Logistic Corp             2093      Checki ng     6/19/2018       4/10/2020
Well s Fargo               SL Trustee Corp                     7671      Checking      2/12/2021       7/28/2021
Well s Fargo            Bittech Global Corp                    7663      Checking      2/21 /2021      7/28/202 1
We ll s Fargo         Conde Jackson USA Corp                   7622      Checking      1/27/2021       7/28/2021


     89. Persona l bank accounts and credit cards used by Ca puci in clude the fo ll owing:


       Banking                                                    Account
                             Account Holder Name                                Open Date       Close Date
      Institution                                                  Type
     Wells Fargo      Stepha nie Lira and Luiz C Ca puci Jr      Checki ng       4/25/2018       8/24/2021
      Varo Bank                   Luiz Cap uci                   Checkin g       2/ 13/202 1         OPEN
      Varo Bank                   Luiz Capuci                   Credit Card      8/ 15/2020          OPEN


     90. A checking account was opened at We ll s Fargo Bank for SL Trustee Corp, and maintained

         from approximately February 202 1 to Jul y 202 1 (Ex hibit 52) . Deposits of more than

         $ 112 ,000 were made to this account, including transfers from Wells Fargo Bank account

         ending in x2942, a joint bank account maintained by Stephanie Lira and Capuci and closed

         in August 24, 2021 (the " Wells Fargo Bank Accoun t") ; an insurance claim of $60,000 paid

         by Geico Marine Insurance Co. on February 12, 202 1; and Pay Pa l deposits of $30,634 paid

         from various unknown accounts between approximate ly Apri l 202 l and June 2021. During

         the same time period, this account spe nt approximately $4 ,000 on legal fees , $795 on child




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         support payments, $65 ,99 5 on tran sfers to other accounts, 9 and $22, 130 on Zelle payments to

         various associates. 10

  Financial Accounts Used By Pires

  9 1. During the rel evant time period, Pires opened and/or maintained several bank accounts in the

         names of businesses. Some of the activ ity in these acco unts do not appear to have any

         business purpose. The companies for whi ch he had bank accounts were the following:

                       Account
   Banking                                                          Account
                       Ending           Account Holder Name                      Open Date         Close Date
  Institution                                                        Type
                       Number
Bank of America         2267           Emp ires Consu lting Corp.   Checking     12/31/202 l       2/14/2022
JPMorgan Chase          1665            E&J Gra nite lnstall LLC    Checking     10/28/20 16       4/16/2020

JPMorgan Chase              9950        MCC Intern ational Corp     Checking      10/9/20 18       1/12/201 9



  92. Personal bank accounts and credit cards used by Pires include the following:

                                   Account
                                                Account Holder       Account      Open
      Banking Institution          Ending                                                      Close Date
                                                    Name              Type        Date
                                   Number
        JPMorgan Chase              2962        Emerson Pires        Checking   10/9/2018      3/23/2020
                                    4149       Amy N Parker and       Credit     Prjor to
        JPMorgan Chase                                                                           OPEN
                                                Emerson P ires         Card      1/1/2018
           PNC Bank                 1434        Emerso n Pires       Checking   8/14/2020        OPEN
         Suncoast Credit           194 1-00
                                                 Emerson Pires        Savings   6/24/2020        OPEN
             Un ion
         Suncoast Credit           194 1-50
                                                 Eme rson Pires      Checking   6/24/2 020       OPEN
             Union
         Suncoast Credi t           9895                              Credit
                                                 Emerson Pires                  9/14/2007      6/16/2020
             Union                                                    Card




  9
   The recipient accounts were the Well s Fargo Bank Accoun t; Well s Fargo checking account
  x9045 (held by Luiza Capuc i/Stephani e Lira) ; and Wells Fa rgo savings account x3 757 (held by
  Stephanie Lira). Transfers to these accounts took pl ace between approxima tely February 24,
  2021 and June 21 , 202 l.
   10
        Payments made between approx imately February 25, 202 1 and June 25, 202 1.

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   Capuci's Disposition of Assets and Closing of Bank Accounts

      Closing of Bank Accounts After SEC Subpoenas Issued

  93. Based on my participation in thi s Investigation and review of W e lls Fargo record s, J am

      awa re th at th e SL Trustee Corp., Bittech Global , and Conde Jackso n c heckin g acco unts were

      all closed on or abo ut July 28, 202 1. I am also aware that the SEC issued s ubp oe nas to

      Capuci , MCC , and Bittech Global on or about June 29, 2021.

      September and October 2021 Car Sales

  94. I have al so rev iewed records for Citibank account x8352, held in the name of " Hi Tech

      Commerce and Log isti c Corp" (the " Hi Tech Citibank Account"). Accordin g to account

      openin g documents produced by Citibank, N.A. , Capuci is the sole aut horized signor on th e

      Hi Tec h C itiba nk Account.

  95. Reco rd s for th e Hi Tech Citibank Account (Exhibit 53 and 43) indicate th at after the SEC

      issued th e Jun e 29, 202 1 subpoenas in thi s Investi ga tion , th e I-Ii Tech C itiba nk Acco unt

      received approximately $388,600 in wire transfers from "RL Car Kin g" as follows:

                                         Date                    Amount
                                       9/17/2 1                  $98,000
                                       10/ 12/2 1                $120,000
                                       10/14/21                  $65,000
                                       10/18/21                  $60,000
                                       10/19/21                  $45,500

      Based on open-source Internet research , I believe that "RL Car King" may be a used auto

      dea lership located in Pompano Beach, FL. Accordingly, it is poss ible these wire transfers

      ma y represent proceeds of auto sa les by Capuci after the SEC issued the Jun e 29, 2021

      subpoenas in this Investi ga tion .




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          ovember 2021 Yacht Sale

   96. I have also reviewed records conce rnin g a purchase of a forty-two-foot yacht by Capuci,

      through one of his companies, in or about March 202 1. After the SEC issued subpoenas in

      this Investigation, Capuci so ld th e yac ht. In approximate ly November 202 1, he deposited the

      sa le proceeds in a bank account held in the name of hi s w ife's company.

   97. According to records produced by The New Yac hts Com pany d/b/a YachtCreators, on or

      about February 15, 2021 (Ex hibit 55), Capuci e lectroni ca ll y signed a purchase agreement

      for a 201 7 Azimut F lybridge fo1iy-two-foot yac ht, bearing hu ll ID no. XXXXXXXXL617

      and named "LU-KI" (the "Capuci Yacht"). The tota l purchase price was $470,000 . Capuci

      entered into the purchase agreement under hi s own name , and presented a copy of his Florida

      driver' s li cense.

  98 . Pursuant to the purchase agreement, on or about February 16, 202 1, Ca pu ci wired a deposit

      of $47 ,000 from the Hi Tech C itibank Account to an escrow account held by T he New

      Yachts Company .

  99. On or about March 8, 202 1, Capuci electroni ca ll y signed a c losing statement fo r the Capuci

      Yacht reflecting a fi nal balance du e of $44 1,529.0 l . This ti me , Ca puci signed the agreement

      on behalf of buyer "JSK Virtua l Corp ." As di scussed above in paragraph 13, corporate

      documents indicate that JSK Virtual Corp. is contro ll ed by Ca pu ci.

  100.     On or about March 8, 2021, Capuci wired the fina l balance due of $44 1,529.01 from the

      Hi Tech Citibank Account to an account held by The New Yachts Company .

  10 I.    On or about October 19, 202 1, Capuci entered into a purchase an d sale agreement fo r the

      Capuci Yacht (now named "JrStephy"). T he sale price was $580 ,000, and Capuci again

      electroni call y signed the agreeme nt on behal f of JSK V irtual Corp.



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   102.     On or about November 5, 202 1, Capuci s igned a clos ing statemen t directin g that th e net

        sales proceeds of $5 00,000 be wired to Citibank account x4766. T hi s different C itibank

        account was he ld in th e name of "S L Trustee Corp ." As discussed above in paragraph 13 ,

        corporate documents in dicate th at SL Tru stee Corp. is contro ll ed by Capuci's spouse.

   103 .    On or about November 16, 2021 , a n individual from YachtCreators emai led Capuci ,

        " We are close to releasing th e fund s on th e ' JrStephy' 42 ' Azimut closing. However, as you

        are not currently an officer of SL Trustee Corp. , please quickly confirm in writing that you

        fully auth orize YachtCrea tors to wi re th e closi ng fund s to th e bank account held by SL

        Trustee Corp ." Capuci respo nded, "Yes I auth orize you guys deposit on the account under

        the name of SL Trustee Corp ."

   104.     W ire transfer reco rds pro duced by The N ew Yac ht Company indicate that two wire

        transfers tota ling $5 00,000 we re se nt to th e SL Tru stee C itibank acco unt on or about

        November 17, 202 1.

  Transfers to Third Parties from the Hi Tech Citibank Account

   I 05 .   I have also reviewed account state ments and wi re transfer records for th e Hi Tech

        Ci tibank Accou nt. Those doc ume nts refl ect th at between approximate ly July and November

        2021 Capuci transfen-ed over $ 1.9 million from the Hi Tech Citibank Account to va ri ous

        individuals and entities. The purpose of many of these transacti ons is currently unknown.

       Certain of those transactions are summari zed below:

                        Date       Amount                   Recipient Name
                       7/6/2 1      $ 14,309                    Eric Gozlan
                      8/11/2 1      $13,5 00             4B raz il Video & Phone
                      8/l 3/2 1     $5 1,000             4Brazil Vi deo & Phone
                      8/l 7/2 1    $2 0,0000     Villa Franca Design and Development
                      8/24/2 1      $ 10,000              D eli Pereira D a Silva
                      9/13/2 1      $2 1,000             4Brazil Vi deo & Phone
                      9/16/2 1      $2 1,000             4B razil V ideo & Phone

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                        Date         Amount                     Recipient Name
                       9/17/2 1       $2 0,000            4Braz il Video & Phon e
                       9/27/2 l       $32,000             4Brazil Video & Phon e
                      l 0/1 3/21      $54,000             4Braz il Video & Phone
                      10/ 14/21      $ 150,000                Kl Import Ex port
                      I 0/15 /21      $54,000             4Brazil Video & Ph one
                      l 0/20/2 1     $25 0,000                K 1 Import Ex port
                      l 0/2 1/2 1     $2 1,200            4Brazil Video & Phon e
                      10/2 1/2 l      $75,000            Bl ess Con structions Corp .
                      l 0/2 1/2 1     $5 0,000               Hi Tech El ectronics
                      10/2 1/2 l      $75 ,000          Easy for You Import Ex port
                      10/26/21        $34,592             4Brazil Video & Phone
                      10/27/21       $500,000           MBC Trade Internation al Inc .
                       1 1/8/2 1      $85,000            Bless Constructions Corp.
                       I I /8/21      $75,000            Bless C on structions Corp .
                       11/8/2 1       $75,000                 Eletrons Red Inc.
                       11 /8/21       $80,000           Easy for You Import Ex port



  Current Assets of Capuci and Pires

   I 06.    Based on my parti c ipati on in this In ves ti ga ti on and revi ew of docum e nts, the fo ll ow in g

       are asse ts that 1 have identi fie d as currentl y controll ed by Capuci. The tabl e be low in cludes

       know n bank accounts w ith balances as of September 202 1. l have a lso in c lud ed Exhibit 56 ,

       w hi ch is a li st l prepared of a ll payments made from Capuci-controll ed ba nk acco unts.

       Capuci - Current Asset List

                                                                             Purchase Price
                                                                                                      Purchase
   Asset Type          Description               Location/Address             / Last Known
                                                                                                       Date
                                                                                 Balance
                     Jeep Cherokee         128 SE Vi a San M arino,
      Ve hicle                                                                   $ 27,595            4/28/202 1
                          (2020)           Port Saint Lucie, Florida

                    Pillard Hardtop        128 SE Vi a San M arin o,
      Ve hi c le                                                                 U nknown             2/8/202 1
                      4DR (2017)           Port Saint Luci e, Florida
                     Mercedes-Benz
                                           12 8 SE Vi a San M arin o,
     Ve hic le        G 63 AMG                                                   $ 137, 150          11 /17/2020
                                           Port Saint Lucie, Florida
                          (2015)




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                                                                         Purchase Price
                                                                                          Purchase
   Asset Type         Description            Location/Address             / Last Known
                                                                                           Date
                                                                             Balance
                   Harley Davidson
                   VRSCDX Night          128 SE Via San Marino,
     Vehicle                                                                  $ 16,349    2/4/2020
                     Rod Special         Port Sa int Lucie, Florida
                    Edition (2014)

      Bank
                      Varo Bank          Checking account (x2747)              $ 46         NIA
     Account



  107.     2020 Jeep Cherokee. Searches of a database of public records maintained by Lexis-

       Nexis indicate that a 2020 Jeep Cherokee Latitude Plus 4 Dr Wagon Sport Utility was

       registered to and owned by Capuci as of at least approximate ly April 28, 2021. The database

       search results reflects a base price for thi s vehi cle of $27,595.

  l 08 .   2017 Pillard Hardtop . Searches of a database of public records maintained by Lexis-

      Nexis indicate that a 2017 Pillard Hard top 4 Dr was registered to and owned by Capuci as of

      at leas t approximate ly April 15, 202 l .

  109.     2015 Mercedes Benz AMG. Searches of a databa se of public records maintained by

      Lexis-Nexis indicate that a 20 15 Mercedes Ben z AMG, 4 Dr Wagon Sport Utility was

      regi stered to and owned by Capuci as of at least approxi mate ly April 15, 202 l. The database

      search results reflects a base price for thi s vehi cle of$ I 37,150.

  110.     2014 Harley Davidson VRSCDX Night Rod Special Edition. Searches of a database of

      public records maintained by Lexis-Nexis indicate that a 2014 Harley-Davidson VRSCDX

      Night Rod Special was regi stered to Capuci and SL Trustee Corp. as of at least

      approximately February 4, 2020. Records produced by Wells Fargo indicate that the Wells

      Fargo Bank Account paid approx imately $ 19,000 with a check payable to "American V

      Twin" on or about August 19, 2020. The accompanying memo line for thi s check references


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      "B ike," wh ich I believe is a refere nce to this motorcycle . The database search results reflects

      a base price for this vehicle of$ I 6,349.

  111.    Varo Bank Account. This personal checki ng account was opened on or abo ut February

      13 , 202 1, with Capuci as th e on ly name in the accou nt opening app li cation. The account

      reflects a balance of $4 7 as of September 2021.

      Capuci's Ownership of Assets In Different Corporate Names

          SL Trustee Corp.

  11 2.   SL Trustee Corp., of w hi ch Capuci 's spouse is a director as explained in paragraph 13

      above, cunently owns or leases the fo ll owi ng assets:

                                                                          Purchase         Purchase
    Asset Type        Description            Location/Address
                                                                           Price            Date
                    Tesoro Condo,
                                         128 SE V ia San Marino,
     Residence       Sin gle fam il y                                     $ 675,000       I 0/24/20 19
                                         Port Saint Lucie, Florida
                       res idence

                                         126 SE V ia San Marino,          $225,000
    Rea l Estate       Vacant Lot                                                         12/15/2021
                                         Port Saint Lucie, Florida       (sale price)
                       Cadillac
                    Escalade ESV
                                         I 841 NW 42nd Drive,
      Vehicle          Premium                                            $ 85,995         5/26/2021
                                         Boca Raton , Florida
                        Luxury
                        (2021)
                      Ferrari488
                                         128 SE V ia San Marino,
      Vehicle           PISTA                                             $ 345,300        4/15/2021
                                         Port Saint Lucie, Florida
                        (20 I 9)
                     Land Rover
                    Autobiography        1841 NW 42nd Drive,
      Vehic le                                                            $ 150,300       10/27/2020
                         SUV             Boca Raton, Florida
                        (2020)
                     Lamborghini
                                         1841 NW 42nd Drive,
      Vehicle            Urus                                             $200,000         9/3/2020
                                         Boca Raton, F lorida
                        (20 19)
                      Ferrari F8
                                         1841 NW 42nd Drive,
      Vehicle          Tributo                                            $ 335,000        8/28/2020
                                         Boca Raton, Florida
                        (2020)



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                                                                           Purchase          Purchase
     Asset Type        Description            Location/Address
                                                                             Price            Date

                         Hummer           128 SE Via San Marino,
       Vehicle                                                              $ 64,950         8/ 11 /2020
                          (2008)          Port Saint Lucie, Florida
                    Harley Davidson
                    YRSCDX Night
                                          128 SE Via San M arino ,
       Ve hi c le     Rod Special                                           $ 16,349         2/4/2020
                                          Port Sa int Lucie, Florida
                        Edition
                         (2014)
                      Sea Ray Boats       600 Main Street, Apt 345 ,
           Boat                                                             $ 50,000         2/4/2020
                          (2000)          Worcester, MA

   113 .    Tesoro Condo and      eighboring Vacant Lot: Records produced by JP Morgan Chase ,

       C itibank , and We ll s Fargo indicate that the Hi Tech Bank Account, the Hi Tech C itibank

       Acco unt, and the Well s Fargo Bank Accou nt made a total of 12 payments, each $3, 160 plus

       transact ion fees totaling $60 fee , to "A lbert Russo ." The memo lines accompany ing eac h

       such payme nt from the Hi Tech Citibank Account state, "Mortgage 128 SE Via San Marin o,"

       w hi ch is the ad dress of the Tesoro Condo. Searches of a database of publi c record s

       maintai ned by Lex is-Nex is for property owned by SL T rustee Co rp . and fo r this spec ifi c

      property address both indicate th at A lbert Russo was the " lender" and Capuci th e "owner" of

      the Tesoro Condo, with the sale price li sted as $675,000. A search of variou s on lin e rea l

      estate websites, including Zi llow.com , Redfin and Trulia.com, indicate th at the Tesoro

      Condo was li sted fo r sa le on or about November 6, 202 1- after subp oenas in this

      Investigation were issued- with a li st price of $1.1 million . As of March 29, 2022, thi s

      property is li sted on Zil low.com as "Under contract." Documents produced by Doma in

      Rea lty LLC include an '" As Is' Residential Contract For Sale and Purch ase" betwee n SL

      Trustee Corp and a buyer to sell the Tesoro Condo for a purchase pri ce of $825,000. Thi s

      sa les agreement further incl udes a "Vacant Land Contrac t" for the neighboring property



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      located at 126 SE Via San Marin o for a purchase price of $225,000. This agreement is dated

      December 15 , 2021. Based upon my review of the sa les contract, it appears that closing on

      this property is scheduled between March l , 2022 and August 1, 2022.

   114.   2021 Cadillac Escalade ESV. Searches of a database of publi c records maintained by

      Lexis-Nexis for property owned by SL Trustee Corp. indicate that thi s corporation owns a

      202 1 Cadill ac ESV Premium Luxury 4 Dr Wagon Sport Utility. The database search results

      reflect a base price for this ve hicl e of $85,995.

   115.   2019 Ferrari 488 Pista: Records produced by Well s Fargo and Citibank indicate that the

      Wells Fargo Bank Account and the Hi Tech C itibank Account pa id approx imate ly $47 ,434

      and $60,740, respectively, to "DSTD Company" and "Luca Sales Serv ices" from

      approximatel y Jun e 2020 to October 202 1. The accompa nying memo lines for these checks

      and wire transfers reference VIN ending in 5197, whi ch is a 2019 Ferrari 488 Pista per

      www. NHTSA .gov. Documents produced by DSTO Co mpany included photographs of

      checks paya ble to DSTD Company from "Stephanie C Ca puci " w ith the memo line

      referencing monthly lease payments for that same VIN . Searc hes of a database of public

      records maintained by Lexis-Nexis for property owned by SL Trustee Corp. indicate that a

      201 9 Ferrari 488 Pista with the same VIN was registered to SL Trustee Corp. and Capuci on

      or about March 23, 2020. The database search resu lts refle cts a base price for this vehicl e of

      $345,3 00.

  11 6.   2020 Land Rover Autobiography SUV: Records produced by Citibank indicate that

      the Hi Tech Citibank Account made a wire tra nsfer pay ment of approximately $59,74 1.74 to

      "Exotic Car Leasing LLC" on or about August 31 , 2020. The accompanying memo line

      stated, "Down payment for 2020 Landrover. " Searc hes of a database of public records



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       maintained by Lexi s-N ex is fo r property owned by SL Trustee Corp. indicate that the

       corporation owns a 2020 Land Rover Autob iography 4 Dr Wagon Sport Uti lity. The databa se

       search results re fl ects a base price for thi s ve hi cle of $ 150,300.

   117.    2019 Lamborghini Urus: Records produced by Wells Fargo Bank indicate that the

       We ll s Fargo Bank Accou nt iss ued a check for $8,000 to " Sam' s Automotive" on or about

       April 10, 2020. The check ' s memo li ne stated, " Lam borghini Monthly," w hi ch I believe

       references a monthly lease fo r thi s Lamborghini vehicle. Searches of a database of public

       records maintained by Lexis-Nex is for property owned by SL Trustee Corp. indicate th at the

       corporation owns a 20 19 Lamborghini Urus Base, 4 Dr Wagon Sport U tility. The database

       sea rch resu lts reflec ts a base pri ce for thi s ve hicle of $2 00,000.

   11 8.   2020 Ferrari F8 Tributo : Searches of a database of public records m aintained by Lexis-

       Nexis for property owned by S L Trustee Corp . indicate that the corporati on owns a 2020

       Ferrari F8 Trib uto.

   11 9.   2008 Hummer. Records produced by Wells Fargo Bank indi cate th at the We ll s Fargo

       Bank Acco unt made two wire tran sfers tota ling approxi mate ly $67,35 0 to "A&L Imports

       Inc" in approxi mate ly A ugust 2020. According to A&L Imports, Inc. , they sold a veh ic le to

       SL Trustee Corp . on or about Aug ust J I , 2020. Documents produced by A&L Imports

       included the purchase agreement for thi s 2008 Hummer, a receipt for a $5,000 down pay ment

       received by wire transfer, and a recei pt for the balance of $59,950 received by w ire transfer.

   120.    2014 Harley Davidson VRSCDX Night Rod Special Edition. See paragraph 11 0

       above.

  121.     2000 Sea Ray Boat. Searches of a database of public records maintained by Lexi s-Nexis

       for property owned by SL T rustee Corp . and Stephanie Lira indi cate that the corporati on



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      ow ns a 2000 Sea Ray Boat as of approximatel y February 4, 2020. A n intern et sea rch on

      "Boattrader. com" for simil ar Sea Ray vessels refl ects an ave rage base pri ce for thi s boat of

      type of boat of $5 0,000 .

      JS Homes Corp.

   122.   JS Homes Corp., of which Capuci is the President, Treas urer, Director, an d Reg istered

      Agent, as explained in paragraph 13 above, currentl y owns or leases the fo ll owing assets:

            Asset                                                       Purchase      Purchase
                         Description         Location/Address
            Type                                                         Price           Date
                        Single famil y   38 1 Southfi e ld St,          $48 1,400     2/23/202 1
          Res idence
                          residence      Ki ss immee, Florida
                                         165 1 SW Rutl and St,           $ 59,000     2/ 13/202 1
          Res idence         Land
                                         Port Sa int Lucie, Florida
                                         1638 SW Paddock,                 $59,900      l l /6/202 0
          Res idence         Land
                                         Port Sa int Lucie, F lo rida


   123.   381 Southfield St: Records produced by C itibank indi cate th at the Hi Tech C iti bank

      made a wi re transfer of approx im ately $ 18 1,000 to "Reuni on West Deve lopment" on or

      about Janua ry 29, 202 1. The note accompanying the tra nsfer stated, "Down payment of

      house loca ted Encore Ki ssimmee Florid a." Additi onall y, records produced by We ll s Fargo

      Ba nk ind icate th at checkin g account ending in 7622 (held in the name of Conde Jac kson

      USA Corp. , w ith Capuci as the so le auth ori zed signor) made a w ire tra nsfe r of

      approx imately $3 13 ,389.63 to "R euni on West Deve lopment" on or about February 5, 202 l .

      The accompanying wire transfer detail s notes: "Purpose of Fun ds: 382 S F ield St K issimmee

      FL 34747." Records produced by Reuni on West D evelopment Corporation furth er include

      email s between Luiz Capuci and Reuni on West represe ntati ves rega rdin g closing cost

      requ irements, pri or payments made by Capuci , wire transfer instru ction s and property

      closing dates fo r the 38 I Southfi eld Street residence in Kiss imm ee. Moreover, searches of a



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      database of public records maintained by Lexis-Nexis indicate that thi s residence was

      purchased by JS Homes Corp in or about February 2021 for $481,400. Finally, a search with

      various online real estate websites, including Zil low.com, Redfin and Trulia.com, indicate

      that this property was listed for sa le in approximate ly mid-Fe bruary 2022- again, after the

      subpoenas in this Investigation we re issued-      w ith a li st pri ce of $750,000. I have reviewed

      the sales contract reflecting that the sa les price was 780,000. Clos ing is scheduled for April

      12, 2022.

   124.   Rutland and Paddock properties. Searches of a database of public records maintained

      by Lexis-Nexis for properties owned by JS Homes Corp. indi cate th at these two properties

      were purchased by JS Homes Corp. The sea rch results provided the dates the properties were

      purchased by JS Homes Corp and the purchase prices included in the table above.

   Current Assets of Pires

   125.   Based on my participation in thi s Jn vestigation and revi ew of documents, the fo ll owing

      are assets th at I have identified as currently con troll ed by Pires. The below table includes

      known bank and investment accounts with current balances as of approximately October

      2021 (Suncoast), November 202 1 (Suncoast) , December 2021 (TD Ameri trade), and January

      2022 (PNC Bank). I have also included Exhibit 57, which is li st of all payments made from

      Pires-controlled bank accoun ts that I have drafted based on my participation in thi s

      Investigation.

          Pires - Current Asset List

                                                                     Purchase Price /
                                                                                               Purchase
   Asset Type          Description      Location/Address              Last Known
                                                                                                Date
                                                                        Balance
                   Single Family      141 20 Reflection Lakes
    Residence       Residence -       Drive, Fort Myers,                 $ 536,200             10/9/2020
                    Townhouse         Florida


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                                                                   Purchase Price /
                                                                                            Purchase
    Asset Type       Description         Location/Address           Last Known
                                                                                             Date
                                                                      Balance
                    Lamborghini        141 20 Refl ecti on Lakes
      Vehi cle           Urus          Dri ve, Fort M ye rs,           $2 00,000            6/3/202 1
                        (201 9)        Fl orid a
                    Land Rover
                                       141 20 Reflecti on Lakes
                    Range Rover
      Ve hicle                         Drive, Fort Myers,              $ 150,3 00           11 /9/2020
                   Autobiograph y
                                       Fl orid a
                        (2 020)
                       Harley
                     Davidson
                                       9700 Casa Linda Ct,
      Ve hi cle    Road King Tilt                                       $ 17,345            8/26/2020
                                       Fort M ye rs, Florid a
                      Tandem
                        (2007)
                     Mercedes-
                     Benz S 63         97 00 Casa Linda Ct,
      Ve hicl e                                                        $ 160,900            1/3 1/2020
                        AMG            Fort Mye rs, Florida
                        (2 01 5)
       Bank        Sun coast Credi t   Checki ng account
      Acco unt          U ni on        (x 194 1)                       $ 505. 13              NIA
       Ba nk       Su ncoast Credi t   Sav in gs acco unt
      Account           Uni on         (x 194 1)                       $46 8. 04              NIA
       Bank
      Account         PNC Ba nk        Check in g accoun t
                                                                       $ 799.79               NIA
     Bro kerage                        Taxa bl e brokerage
      account      TD Ame ri tra de    account                        $ 2,000.1 3             NIA
   126 .   14120 Reflection Lakes Drive: Records produced by B ank of Am erica indi cate th at

       checking acco unt ending in 2267, held in the name of Empires Consulting Corp. w ith Pires

       as the sole authori zed signatory (the "Empires Bank of Ameri ca Account") m ade three wire

       transfers to Nelayda Fonte in or about December 2020, January 202 1 and February 202 1.

       Each transfer was approx imately $ 1,865.8 0. The acco mpanying wire transfer notes for two of

       the tra nsfers indi cate that one transfer was for "M ortgage Statement Number 2" and the other

       fo r "M ortgage Statement Number 4 ." In addition , eight Zelle payments to taling

       approxi ma tely $ 14,926 .43 were made using Ze lle from the E mpires Bank of Ameri ca

       Account betwee n May 202 1 and December 202 1. The Zell e paym ents we re sent to "Loo."

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      Searches of a database of public records maintained by Lexis-Nex is indicate that Nelayda

      Fonte and Loo T Yap own the deed to this property, and that the sa les pri ce was $536,200. I

      therefore believe that Pires has made monthly mortgage payments to Nelayda Fonte and Loo

      T Yap for thi s prope11y.

   127.   2019 Lamborghini Urus . Records produced by Bank of America indi ca te that the

      Empires Bank of America Account made a wire transfer of approximately $70,000 to Exotic

      Car Leasing LLC on or about May 19, 2021. The accompanying memo information states,

      "La mborghini Urus, 2019, VIN: xxxxxxxxxxxxxl3 16." Searches ofa database of public

      records maintained by Lexis-Nexis indicate that a 2019 Lamborghini Urus BASE, 4 Dr

      Wagon Spo11 Uti li ty with this same VIN and a base pri ce of $200,000 was registered to Pires

      as "Lessee" as of June 3, 2021.

   128.   2020 Land Rover Range Rover Autobiography . Searches of a database of public

      records maintained by Lexis-Nexis indicate that a 2020 Land Rove r Range Rover

      A utobiography, 4 Dr Wagon Sport Uti lity with a base price of $15 0,3 00 was registered to

      Pires as "Lessee" as of at least approx imate ly April 8, 2021.

   129.   2007 Harley Davidson Road ](jng Tilt Tandem. Searches of a database of public

      records mainta ined by Lexis-Nexis indicate that a 2007 Road King Tilt Tandem motorcycle

      was registered to Pires as of at least approximately August 26, 202 0.

   130.   2015 Mercedes-Benz S 63 AMG . Searches of a database of public records maintained

      by Lexis-Nexis indicate that a 2015 Mercedes-Benz S63 AMG passenger car was registered

      Pires as of at least approximately April 5, 2021.




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   131 .   Suncoast Credit Union Checking and Savings Accounts . Records produced by

       Suncoast Credit Union indica te that Pires was th e onl y person w ho s igned th e account

       openin g applications for th ese accounts, and th at th ese acco unts are held in hi s nam e.

   132.    PNC Bank Checking Account. Records produ ced by PN C Bank indi cate th at Pires was

       the only person who signed th e ac count openin g ap pli cation for thi s account, and th at th ese

       accounts are held in hi s name.

   13 3.   TD Ameritrade Brokerage Account. Records produced by TD Ameritrade indicate that

       Pires was the only person who signed th e acco unt ope nin g applicati on for thi s account, and

       that thi s brokerage account is held in hi s name.

   Capuci Divorce

   134.    Based up on my participation in thi s In vesti ga ti on and rev iew of court do cum ents, I am

       aware th at Capuci was a respondent in a second , now-settl ed di vorce case: Laury kassia

       Danielle Silva Vasconcelos Capuci v. Luiz Carlos J. Capuci, Case No . 20 l 9DR0027 l 8

       (Circuit Court in Port Saint Luci e County, Fl orida). A lthou gh 1 do not have access to the

       settl ement documents, it is possibl e th at th e settl ement agreement requires Capuci to pay

       child support and/or alimony.

   Capuci Flight

   13 5.   Based upon my participation in thi s Investi ga ti on, I am aware that Capuci was in Florida

       with his wife and minor son for a bri ef period of tim e in M arch 2022. However, he and hi s

       fa mily fl ew back to Brazil on a late evenin g fli ght on F riday, M arch 25, 2 022.

   Vanderbilt Residence

   136.    11285 SW Vanderbilt Circle. Thi s residence in Port St. Lucie, Florida was initiall y

       identified as being associated with Capuci as th e busin ess address li sted on the Hi T ech

       Commerce bank account maintained at JPM orga n C hase bank , checking account endin g in

                                                      51
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      2093, and controll ed by Capuci. The opening documents and monthly bank statements

      produced by JPMorgan Chase bank li sted Capuci as the "President" of Hi Tech Commerce.

      A search of the on line rea l estate website Zi llow.com provided historical reports th at thi s

      property was so ld on the open market for $5 I 0,000 in approximately October 3 1, 2017.

      Searches of a database of public records maintained by Lexis-Nexis indicated this as

      Capuci's address from approximatel y October 2017 to November 2020. The Lexis-Nexis

      report also shows a sa le date for this property of approximately December 31, 2020 for a sale

     price of $469,000. An additional Lexis-Nexis report notes that this property was sold by

     Town park Mas ter Assn . Inc. to "Laury kassia Capucci", the former wife of Luiz Capuci , on

      approximate ly February I , 202 1.



  l dec lare under penalty of perjury that th e foregoing is true and correct.

  Executed on A pril 5, 2022


                                                          Isl Larrv Brannon
                                                          LARRY BRANNON




                                                     52
